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                                                                                       United States District Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                       IN THE UNITED STATES DISTRICT COURT                                  May 20, 2020
                       FOR THE SOUTHERN DISTRICT OF TEXAS                                David J. Bradley, Clerk
                                 HOUSTON DIVISION

RONALD JEFFERY PRIBLE,                           §
    Petitioner,                                  §
                                                 §
v.                                               §                           H-09-CV-1896
                                                 §
LORIE DAVIS, Director,                           §
Texas Department of Criminal Justice,            §
Correctional Institutions Division,              §
       Respondent.                               §

                       MEMORANDUM OPINION AND ORDER

       In 2002, a Texas jury convicted Ronald Jeffery Prible of capital murder. He was sentenced

to death. After unsuccessfully seeking state appellate and post-conviction remedies, Prible filed a

federal petition for a writ of habeas corpus in 2009. Now before the Court is Prible’s Fourth

Amended Petition for Writ of Habeas Corpus. The matters raised by Prible’s petition have required

significant factual development, extensive briefing, and serious judicial consideration. For the

reasons described below, the Court finds that Prible is entitled to federal habeas corpus relief.

I.     BACKGROUND

       A.      The Murders, The Investigation, and Prible’s Arrest

       At around 6:00 a.m. on April 24, 1999, a neighbor saw smoke pouring from Esteban

“Steve” Herrera’s house. Authorities found Herrera lying in the middle of the garage in a pool of

blood. Four bodies were found inside the smoky house. Herrera’s girlfriend Nilda Tirado lay

face-down on a couch inside, naked from the waist down. Three children were found dead in the

bedrooms.

       A forensic investigation revealed that the assailant had used an accelerant to create a

flashfire that self-extinguished, but not before suffocating the sleeping children. Both Tirado and

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Herrera had died from a single gunshot to the back of the head. Both adults had died before the

fire started.

        Prible, a friend of Herrera and Tirado, was quickly identified as a suspect. The police

investigation established that Prible had spent the evening with Herrera. Herrera’s brother-in-law

had accompanied Prible and Herrera to a club until around 2:00 a.m. on the morning of the

murders. They returned to the Herrera home. Herrera and Prible were in the garage playing pool

when the brother-in-law left.

        Scientific evidence confirmed that Prible had been present in the Herrera home. A forensic

examination uncovered sperm cells from oral, vaginal, and anal swabs taken from Tirado’s corpse.

Herrera’s DNA matched the anal and vaginal swabs. DNA testing identified Prible as the source

of the semen found on the oral swab.

        The police questioned Prible, but he disclaimed any involvement in the murder. Prible

admitted that he had been in the Herrera home after returning from the club, but said that Herrera

drove him home at around 4:00 a.m. When the police asked what he would do if they found his

DNA at the scene, he added that he had been having an affair with Tirado and had engaged in

consensual oral sex with her.

        Police searched the home of Prible’s parents, where Prible also resided. The search

uncovered guns and ammunition. A firearms examiner later testified at trial that a magazine found

at Prible’s residence could hold bullets similar to those found at the crime scene. But the murder

weapon was never recovered. Investigators could not find blood stains, accelerant, or any forensic

evidence on Prible or his clothing.

        In addition, Prible had an alibi. A teenage neighbor saw Herrera drop Prible off at his

parents’ home in the early morning hours.

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       Prible’s DNA alone was not enough to pursue prosecution. Prible was not arrested, let

alone indicted, in connection with the murders for two years. The case went cold.

       In early 2001, Harris County Assistant District Attorney Kelly Siegler was asked to review

the cold case. By that point, no new information had been developed that would come out at trial.

The State, nonetheless, charged Prible with capital murder on July 5, 2001.

       At that time, Prible was housed in the federal prison FCI Beaumont Low for a federal bank

robbery conviction.1 Rather than be transferred to Harris County custody for the state capital

murder charges, however, on the day Prible was charged he was transferred to FCI Beaumont

Medium. That same day, Nathan Foreman was also transferred to FCI Beaumont Medium and

eventually became cellmates with Michael Beckcom. Beckcom would later testify at trial that

Prible had confessed the murders in detail to him and Foreman.

       Siegler presented Prible’s case to the grand jury on August 29, 2001, without calling any

witnesses. The grand jury returned an indictment. The State of Texas tried Prible for capital

murder in 2002. The State’s case against Prible was not strong. As summarized on direct appeal,

the State’s case rested on six main facts:

       The State presented evidence that: 1) [Prible] was the last person seen with Steve
       at the house prior to the murders; 2) he had a motive to kill Steve; 3) the bullets that
       killed Nilda and Steve were fired from the same weapon; 4) [Prible’s] sperm was
       deposited in Nilda’s mouth at some point prior to her death; 5) a fire was set to
       destroy physical evidence, including evidence of [Prible’s] DNA; and 6) [Prible]
       admitted to Beckcom that he committed the murders.

Prible v. State, 175 S.W.3d 724, 730 (Tex. Crim. App. 2005).




1
  In June 1999, Prible pled guilty to bank robbery in violation of Title 18 U.S.C. § 2113(a). United
States v. Prible, No. 4:99-cr-348-1 (S.D. Tex. June 17, 1999) (Doc. No. 6). Prible was sentenced
in federal court in September 1999. Id. (Doc. No. 13).
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          Most of this evidence, however, does not explicitly inculpate Prible in the murders. At

issue in the instant proceedings are the two factors that the State argued directly incriminated

Prible: the State’s use of inmate testimony and the DNA evidence.

          B.     The State’s Use of Inmate Testimony Against Prible

          The star witness for the State was Michael Beckcom, a “jailhouse snitch” who was housed

with Prible at FCI Beaumont Medium. Beckcom’s key inculpatory testimony was that Prible

confessed to him and his cellmate, Nathan Foreman, on November 24, 2001. Before trial, the trial

court held a conference devoted largely to discussing the State’s interaction with its anticipated

witness Beckcom. Trial counsel requested that the State provide (1) information about Beckcom’s

criminal record and any sentence reductions he had received; (2) information about “the date, time,

place, and manner of the State’s contacts with [Beckcom], including a statement of how the contact

was first issued and with whom it was made”; (3) information about any other cases in which he

had provided testimony; (4) a copy of Beckcom’s statement to prosecutors and any notes related

to conversations between Beckcom and prosecutors; and (5) a copy of any agreement about what

Beckcom would receive for his testimony. 2 RR 4, 6, 8.2 The trial court ordered the release of the

first category of information, Beckcom’s prior history of testifying, and information about any

deals with the prosecution.

          The prosecution balked at providing information about its contacts with Beckcom. Siegler

stated:

          I’ll agree to tell Mr. Gaiser how we came into contact and the times that we’ve met.
          I don’t remember the dates. I didn’t take any notes. And the best that I can
          remember, I’ll let him know what they are, but I’m not going to write it all down.
          He can come to my office and I’ll sit down and tell him what I can remember.


2
 The Court will refer to the Reporter’s Record from Defendant’s Appeal from the 351st District
Court of Harris County, Texas, No. 75587, as _ RR _.
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Id. at 5–6. The trial court granted the second request “as to Siegler’s oral transmission of the

information to Mr. Gaiser as described on the record.” Id. at 6. The prosecution provided the

defense a summary of Beckcom’s statement, but the trial court agreed that any notes constituted

attorney work product. Id. at 7. The prosecution also agreed to tell the defense about any

disciplinary violations Beckcom may have committed. Id. at 24.

         The prosecution also provided some information about any deals it made with Beckcom in

exchange for testifying. At the hearing, Siegler stated:

         [I]n exchange for his cooperation and truthful testimony, when this trial is
         completely over with and resolved I will notify his Assistant United States Attorney
         [whose] name is Mark Cullers, in Fresno, California, that [Beckcom] cooperated in
         this case, what the level of his cooperation was, the extent of his cooperation, and
         whether or not I believe that it was truthful. At that time it will be Mark Cullers’
         decision as to whether or not to file a [Federal Rules of Criminal Procedure] Rule
         35 reduction. Even if he files that Rule 35 reduction, it will be his superior’s
         decision whether or not to proceed with it. And even if they decide to proceed with
         it, it will be his Federal Judge in California’s decision whether or not to give him
         any kind of reduction in his sentence.

Id. at 29. In that same pre-trial conference, the parties discussed the admission of any written and

oral statements the prosecution intended to use. The prosecution had already given the defense all

written statements. Id. at 27. Siegler told the defense that Prible “made comments and statements

to other people in the Beaumont prison” but she already “gave [the defense] their names.” Id. She

told the defense that Beckcom was the only federal inmate the prosecution would use at trial. Id.

at 28.

         The State’s opening statement at trial discussed extensively Beckcom’s proposed

testimony. The State bluntly told jurors that Beckcom is a “vial [sic], disgusting man himself.

Who is himself an ex-con several times over. Who is himself convicted of murder on a case that

was at one time a capital murder. . . . You’re not going to like him. He’s going to make you sick

to your stomach.” 21 RR 79. The State then informed the jury that Beckcom hoped for, but was
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not guaranteed, a benefit from his testimony. Id. at 79–81. The State’s emphasis on Beckcom

foretold his importance to their case because only Beckcom would “tell you all of the details of

everything that Jeff Prible told him about how he did it that night, including the fact that he was

proud of the fact that he killed the whole family.” Id. at 82.

        Beckcom was the State’s penultimate witness in its case-in-chief. After preliminary

questions regarding his background, the State asked Beckcom about his extensive criminal history.

At the time of trial, Beckcom had been incarcerated in federal prison for five years. 26 RR 9.

Beckcom explained that he had previously testified against others in exchange for deals with the

government. Id. at 12–13. Beckcom explained the deal he made with the State that resulted in his

testimony against Prible: “[I]f I testify truthfully to this Court that you will reciprocate by calling

my Federal prosecutor. At that point it’s out of your hands, but just to let him know what I’ve

done.” Id. at 14. Otherwise, testified Beckcom, the State made him no other promises. Id. at 17.

Beckcom testified that he could not return to FCI Beaumont because other inmates knew about his

testimony against Prible. Id. at 19–20. He had, in fact, already been put into protective custody.

Id. at 21.

        When asked when he had heard about Siegler, Beckcom responded: “I didn’t learn about

your name until . . . probably the end of September, early October of 2001.” Id. at 22. Beckcom

testified that “[p]rior to that I had heard of the case just briefly, something about a guy coming

from the [FCI Beaumont] Low charged with murder. I didn’t really get too much information on

it.” Id. Beckcom testified that he got Siegler’s name from Nathan Foreman who “lived in [his]

unit at the prison and then ultimately became [his] cellmate.” Id. at 23. When he learned about

Siegler, Beckcom stated, he did “[n]othing immediately,” but eventually called her in “the first

half of October 2001.” Id. at 23, 24. He told her that he “had information regarding this case

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involving a murder.” Id. at 24. Siegler visited him in “either late November or early December.”

Id. Siegler brought investigator Johnny Bonds with her. Id. at 24–25. Beckcom thought Siegler

was “probably a little skeptical of another inmate maybe spinning a yarn to [her].” Id. at 25.

Beckcom gave her a letter dated December 10, 2001, detailing his knowledge of the crime. Id.

Beckcom testified that he had “spoken” with Siegler on the phone “two or three times” and that

the phone calls were mostly about her recommending a sentence reduction. Id. at 26–27.

        In his direct testimony, Beckcom testified as follows regarding his interactions and

conversations with Prible:

        Beckcom and Prible met in the recreation yard through a shared acquaintance. Id. at 28–

29. Prible began exercising with the two men, but did not engage Beckcom in conversation for

“weeks or maybe a month.” Id. at 31. Initially, they engaged in “general conversation” mostly

about people they both knew. Id. at 32. Beckcom had previously “heard bits and pieces of

information when [Prible] got there,” but he “still really didn’t know who he was.” Id. Eventually,

Beckcom asked Prible about the capital charges.          Id.   The two men initially had general

conversations about the capital prosecution, but Prible disclaimed any involvement in the crime.

Id. at 33–34. Beckcom claimed that he “wasn’t paying a lot of attention” to Prible’s statements

about his case, “because it’s not something [he] care[d] to relive, [his] capital murder case.” Id. at

34.

        In “bits and pieces of conversations,” Prible began to provide Beckcom with details about

the crime. Id. at 33. Details came out in “[s]everal conversations” over “weeks if not a month.”

Id. at 37. In the beginning, when Prible “was still struggling with actually confiding a lot,” he told

Beckcom: “‘I’m not a sane man’. . . . ‘Your deepest, darkest reaches of your worst nightmares




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don’t come close to me, don’t come close to what I am capable of.’” Id. at 42. Prible also implied

that he would murder for hire. Id. at 42–43.

         At first, Beckcom “was getting information . . . with no intention of even using it. I was

actually curious, trying to find out what the situation looked like.” Id. at 37. Prible told Beckcom

that “they got DNA on [Tirado],” but “everybody knew [he] was having an affair with her,”

because she and Herrera “had some kind of open relationship.” Id. at 33–34. Prible also said that

the police “were looking for a .38 caliber pistol that they knew he had had, but he had sold it.” Id.

at 34. At any rate, “[i]t was clean. That wasn’t the [murder] weapon.” Id. Still, Prible described

Herrera as “his best friend.” Id. at 39.

         Beckcom “at one point . . . actually became interested in” contacting Siegler so he “began

prodding [Prible] into conversations at times.” Id. at 36. When Beckcom asked Prible if he was

“sure [the murder weapon] can’t be found,” Prible answered, “asphalt’s good some times for

hiding things.” Id.

         Eventually, Beckcom contacted Siegler. From her, Beckcom learned that he would have

to know “[s]pecifics about the case, facts,” so he “sought to find out as much as [he] could.” Id.

at 37.

         After speaking with Siegler for the first time, Beckcom told Prible that he did not care

whether Prible had committed the murders, and Prible “softened up a bit” and gave Beckcom more

details. Id. at 47–48. Prible described how “Steve was shot in the pool room. Nilda was face

down on the couch, shot in the back of the head, she was partially clothed.” Id. at 48. Prible said

the children died from smoke inhalation. Id. at 49. Prible “gave [Beckcom] the impression” that

he had sex with the victim “in the bathroom” on the night of the murder. Id. at 44. At the time,

Herrera was “[i]n the pool room, in the garage.” Id. at 45. Prible told Beckcom that he had “a

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witness that saw [Herrera] take me home that night.” Id. at 40. “[A] child of maybe 12 or 13 years

. . . had gotten up in the middle of the night to use the restroom and saw him through the window

with [Herrera] out in front of his parents’ home.” Id. at 41.

       Prible increasingly gained confidence in Beckcom and Foreman. Beckcom said: “He

became close to Foreman and I. He called us his brothers and said he loved us . . . . [A]t one point

he told us he’s told us things that only he and God knows.” Id. at 49. The two men expressed

interest in forming a business with Prible after their incarceration. Beckcom specifically testified

that “Foreman was interested. Foreman was interested in investing in the business so we were

actually making plans on something to do when we got out.” Id. at 35.

       The last, and most important, conversation was on November 24, 2001. Id. at 53. That

day, Beckcom, Foreman, and Prible took a photograph together with their parents. Id. at 56. Later

that night, Prible “really poured it all out.” Id. at 53. Prible had “finally gotten used to us and

relaxed. He felt like, you know, we were going to help him out. We told him we would give him

any help we could. We planned on doing business.” Id. Beckcom described the circumstances

under which Prible finally described the murders:

       We were sitting out in the rec yard that particular evening. It was getting dark, we
       were sitting under—we had these little pavilions out on the rec yard with tables
       underneath where you can play cards and dominoes.

       And [Prible] was just sitting there and he got pretty quite [sic] for a while and I
       could tell he was thinking about some things. So, he pulled Foreman and I aside
       and that’s when he gave me the information . . . .

       He said, “You know, Steve screwed me. He screwed me out of $250,000.00. That
       was my money.” And then he gave me the story about, you know, they were
       planning to buy some drugs. . . .

       Well, [Prible] was very agitated especially when he got to the part, “Well, he was
       going to steal my money and he’s going to kill me, fuck him.” And he was literally
       spitting on us. He was pretty agitated. I could tell he was thinking back to the
       scene like he was thinking back to the actual event.
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Id. at 53–54. Prible said that Herrera “was going to kill [him], so [he] handled [his] business.” Id.

at 51. Prible described how, while they were arguing, he shot Herrera, then when Tirado ran into

the house to call the police, Prible shot her. Id. Prible looked for the stolen money, but could not

find it. Id. at 52. Prible lit a fire to cover evidence, but “it didn’t take.” Id. at 51–52.

        Beckcom asked Prible: “How the hell did you get in and out of this house without being

seen?” Prible responded: “Anybody that can go in a house and take out a whole family and get

out without being seen is a bad mother fucker and I’m that mother fucker.” Id. at 52–53. Referring

to his military service, Prible “said that his parents lived a couple of miles from there so it wasn’t

far. And he said it was a high intensive, low drag maneuver. That’s what I was trained for, in and

out. I’m a ghost.” Id. at 55.

        Beckcom’s direct testimony ended with a confirmation of Prible’s confidence in his prison

friends. Prible said: “You know, I trust you guys. You’re my brothers. You’re the only ones that

could convict me, but basically he had made his peace. He said, If you do that you’ll have to live

with it. I’m prepared to die.” Id. at 54–55.

        In cross-examination, trial counsel reviewed Beckcom’s extensive criminal history,

including prior times he had assisted the Government to get a lesser sentence. Id. at 64–69, 77–

80. Beckcom admitted: “Oh, I’ve told lies in the past,” but assured that he was now “just telling.

. . what [Prible] told me.” Id. at 62. Beckcom admitted that he had lied under oath before. Id. at

91.

        When trial counsel questioned why Prible would trust Beckcom and confess after only a

few months, Beckcom said: “[O]ne of the first things I told him is you shouldn’t be talking about

a case that’s pending.” Id. at 70–71. Beckcom admitted that there were similarities between

Prible’s crime and a capital murder charge which Beckcom had faced, leaving Beckcom with the
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impression that Prible “seemed to want to try to understand how they were going to approach him,

how long this thing might play out how, how long he might be in jail. And I told him mine took,

you know, a year.” Id. at 72. Beckcom admitted that he made notes about Prible’s story. Id. at

75.

        Trial counsel also asked Beckcom about the written statement that he provided to Siegler

after Prible’s alleged confession in order to impeach his credibility:

        Trial counsel:         And you knew at that point in time, from the time you wrote
                               this statement from a previous conversation you had with
                               Ms. Siegler that what she wanted was details, right?

        Beckcom:               I pretty much had them all by that time.

        Trial Counsel:         But you knew—well, he had left by that time, but you knew
                               what you needed to make this story come to life, right?

        Beckcom:               I didn’t necessarily know what I needed. I just gave her what
                               he gave me.

        Trial Counsel:         So, you had to put the details, specific details of the murder
                               itself so that—

        Beckcom:               So that she would believe me, sure.

Id. at 84. Beckcom stated that he had not seen or heard anything from any person or media about

Prible’s case, except for Prible’s own statements. Id. at 85 (“Q: [N]obody talked to you about the

case, you didn’t know anything about it . . . all the knowledge you acquired, you acquired from

Jeff Prible? A: Yes.”). Beckcom said that he received Siegler’s name from Foreman, and that he

understood that Foreman had provided other informants to Siegler. Id. at 82. He also confirmed

that he and Foreman knew that they were planning to provide Siegler with information about Prible

when they took the photo together the day of Prible’s confession to corroborate that they knew

him. Id. at 83. Beckcom clarified that, while Prible told them about his case “[i]n bits and pieces”

over two months, he “pretty much had [all the details] by” the time he talked to Siegler. Id. at 84.
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        On redirect, Siegler had Beckcom review numerous details from the crime and affirm that

he learned them from Prible. Id. at 92–95.

        C.     Testimony About Prible’s DNA

        The jury also heard evidence about the DNA found in Tirado’s mouth. The State presented

two witnesses. The Chief Harris County Medical Examiner, Dr. Joye Carter, testified that sperm

cells can be found in a person’s mouth at least several hours after ejaculation, and maybe longer.

She testified that “semen is a very sticky substance and some of it could actually adhere or stick

to like placque that’s on the teeth or in the recesses of the mouth [and] not fully be cleaned out.”

23 RR 68. She also stated that there was “no indication” that Tirado had been sexually assaulted.

Id. at 128.

        William Watson also testified for the State. At the time of trial, Watson held a master’s

degree in biology. He performed DNA testing on the sperm cells found on Tirado. Watson testified

that a “microscopic” amount of DNA was collected on the swabs taken from Tirado’s mouth. This

DNA was Prible’s. 24 RR 118. In the report that he prepared after the murders, Watson did not

try to estimate exactly how long before death the sperm had been deposited in her mouth. Watson

testified that he had never developed a DNA profile from an oral swab and had not seen it in the

literature. Id. at 100, 112. However, Watson stated that the fact that he could develop a profile

from the oral swab was “consistent with there being a great deal of sperm present.” Id. at 94.

Watson testified that the fact that he was able to generate a full and complete male profile from

the oral swab was inconsistent with the semen being deposited into Tirado’s mouth a long time

before she was killed. He also said that the fact that he was able to obtain the male profile

“certainly would be consistent with” Prible depositing the semen in Tirado’s mouth “moments, if

not seconds, before she was killed.” Id. at 101–03.

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       Dr. Robert Benjamin, a molecular biologist, testified for Prible. Dr. Benjamin said that he

did not agree with Watson’s testimony because there were too many variables and Watson made

too many assumptions. Dr. Benjamin stated that, if the semen had been deposited in a consensual

act, the recipient may not take steps to remove it from the mouth. 27 RR 118–21. Dr. Benjamin

also stated that using quantities of DNA to estimate time since ejaculation is “just not scientifically

valid.” Id. at 123–24. He said that “there were no controlled scientific studies” to support

Watson’s conclusions. Id. at 136.

       D.      Arguments and Conviction

       The arguments made by the prosecutors in closing foreshadowed the issues raised in the

instant proceedings.    Prosecutor Vic Wisner’s closing focused on two factors: Beckcom’s

testimony and the DNA evidence. On one hand, Wisner bolstered Beckcom’s testimony, urging

jurors that “Mike Beckcom is telling the truth.” 28 RR 7. On the other hand, Wisner guaranteed

that “[w]e’ve got enough without him. Beckcom just kind of fleshes out what happened, fills in

some of the details. We have enough evidence without him, but I suggest to you everything he’s

telling you about what happened is the truth.” Id. Wisner told jurors that, in order to believe the

defense’s case, jurors would have to find that “this Defendant is the unluckiest, unluckiest [sic]

criminal defendant who’s ever set foot in a courtroom. And there has been a conspiracy to frame

this Defendant both in the free world and prison, so audacious it makes any frame up that has ever

been conducted in the annals of crime look like child’s play.” Id. at 9. In particular, Prible was

unlucky “from a practical hands-on perspective,” because the semen found in Ms. Tirado’s mouth

“had to come right before she was killed or after she was killed.” Id. at 10. In fact, “[t]here is no

way in the world that that semen wasn’t deposited either moments before or seconds after Nilda

died.” Id. at 11.

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       In their closing argument, the defense tried to bolster their DNA testimony and detract from

Beckcom’s credibility.

       But jurors heard last from Siegler. In an emotionally charged argument, Siegler attempted

to dismantle the defense’s case. Siegler dismissed the claim that Prible and Tirado had an affair,

because “appearance is what leads to affairs” and Prible “is creepy and gives you the creeps.” Id.

at 55. Siegler challenged the defense DNA expert’s testimony by being “crude for a minute” and

suggesting that it depended on Prible having “some kind of magic semen, magic sperm that

somehow lives longer than any of y’alls or any other man’s in this whole universe.” Id. Siegler

continued that, to believe the defense, jurors would have to assume that “his semen is so tasty that

she walked around savoring the flavor of it in her mouth for a couple hours.” Id. at 55–56. In

crass language, Siegler described Prible as someone so depraved that he could kill Tirado while

sexually excited. Id. at 59. Siegler summed up her argument: “[I]f Jeff Prible had managed to

control his ejaculation and his mouth, he might not have ever been caught.” Id. at 72.

       Siegler’s argument eventually turned to Beckcom’s testimony, arguing: “Is there any

evidence in this trial that Michael Beckcom got any facts about what happened anywhere except

out of the mouth of this Defendant?” Id. at 75. She also told jurors: “[Y]ou can believe everything

Mike Beckcom said and find him guilty of capital murder. You can hate his guts and think he’s a

creep and believe he’s telling the truth and find this Defendant guilty of capital murder or you

cannot believe one word he had to say and still find Jeff Prible guilty of capital murder.” Id. at 77.

After addressing problems with Beckcom’s credibility, Siegler said:

       But the most important thing, how would Mike Beckcon [sic] know all the things
       that he does know unless the killer told him? Whose fault is it that Mike Beckcom
       came to court? It’s Jeff Prible’s for telling him. And whose fault is it that Mike
       Beckcom knew all the details? Jeff Prible’s for telling him. And how did Mike
       Beckcom know all the details? Because Jeff Prible did it. That’s how he knows all
       these details.
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Id. at 81.

        The jury convicted Prible of capital murder.

        E.     Punishment

        Under Texas law, a jury decides a capital convict’s sentence by answering special issue

questions. In this case, the jury had to answer two questions: (1) would Prible be a future threat to

society and (2) did mitigating circumstances warrant a life sentence? The State presented

testimony from Prible’s former wife, a Harris County Sheriff’s deputy, and a former business

partner whom Prible threatened. The State also relied on evidence of Prible’s prior bank robberies.

The defense presented testimony from a correctional counselor and family members, and evidence

about Prible’s good character. The jury answered Texas’ special issues in a manner requiring the

imposition of a death sentence.

II.     PROCEDURAL BACKGROUND

        A.     State Litigation

        On direct appeal, Prible claimed that the evidence supporting his capital-murder conviction

was insufficient. Prible emphasized that “Beckcom’s testimony was questionable because he

testified in the hope of having his own sentence reduced and he could have learned the details of

the alleged offense through the probable cause affidavit in [Prible’s] possession.” Prible v. State,

175 S.W.3d 724, 730 (Tex. Crim. App. 2005) (internal quotation marks omitted). The Texas Court

of Criminal Appeals found that,

        Beckcom, however, testified about some details that were not contained in the
        probable cause affidavit. For example, he knew that there was a pool table in the
        garage and [Prible] had drops of catsup on his shoe. Beckcom’s testimony also
        contradicted or excluded some details that were contained in the probable cause
        affidavit. He testified that [Prible] told him that Steve “took $250,000 of [his] hard-
        earned money,” but the amount recited in the probable cause affidavit was $45,000.
        He knew that the police had DNA evidence and that [Prible] claimed to have had
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         an affair with Nilda, but he apparently did not know about [Prible’s] and Nilda’s
         alleged sexual encounter in the bathroom while Steve was in the garage. The jury
         was free to take these discrepancies into account and to believe or disbelieve
         Beckcom’s testimony based on their evaluation of his credibility.

Id. (alterations in original). The Court of Criminal Appeals concluded that, “[b]ased on the

evidence at trial, a rational jury could have concluded beyond a reasonable doubt that [Prible]

committed the murders of Nilda Tirado and Steve Herrera during the same criminal transaction.”

Id.

         Prible’s initial state habeas application, which was filed by state habeas counsel on

November 19, 2004, did not raise any issues relating to Beckcom’s testimony or mention anything

about an alleged ring of informants. Then, while on death row, Prible started to hear about other

defendants—including a man named Hermilo Herrero—who had been prosecuted by Siegler using

what seemed to be an overlapping set of prison informants. (Doc. No. 17, at 19). Suspecting that

something similar had happened in his case, Prible filed two pro se applications in 2007, raising

Brady,3 Giglio,4 Massiah,5 and Strickland6 issues relating to the use of inmate testimony in his

case. In one application, Prible alleged that “the prosecution (Kelly Siegler) hid her true ties to

Mike Beckom [sic] and her jailhouse informants in Beaumont Federal Prison” and was “using

Beckom [sic] and his group of friends from Federal Prison to aid her in making cases.” (Doc. No.

99, at 44 (citing Ex. 24, at 00384)). Prible argued that, had he “been made aware of the ties

[Siegler] had to Beckcom and his group of friends who aided Siegler in other cases,” he could have

used that as impeachment evidence in his case. (Id. (citing Ex. 24, at 00386)). In the other



3
    Brady v. Maryland, 373 U.S. 83 (1963).
4
    Giglio v. United States, 405 U.S. 150 (1972).
5
    Massiah v. United States, 377 U.S. 201 (1964).
6
    Strickland v. Washington, 466 U.S. 668 (1984).
                                                    16
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application, Prible alleged that his trial counsel was ineffective for not investigating Hermilo

Herrero as a potential witness. (Id. at 45 (citing Ex. 25, at 00411–15)).

       The Court of Criminal Appeals denied Prible’s initial state habeas application and

construed the second and third pro se pleadings as subsequent applications, found that they did not

meet the requirement for merits review because neither application contained “sufficient specific

facts establishing that the application meets one of the exceptions set out in in Art. 11.071, § 5,”

see TEX. CODE CRIM. PRO. art. 11.071, § 5, and dismissed them as abusive. Ex parte Prible, Nos.

WR-69,328-01, WR-69,328-02, WR-69,328-03, 2008 WL 2487786, at *1 (Tex. Crim. App. June

18, 2008).

       B.      Initial Stages of Federal Litigation

       Prible timely filed his original federal habeas petition on June 18, 2009. (Doc. No. 1). The

petition raised numerous claims, four of which related to the State’s development and use of inmate

testimony for trial:

   •   The State intentionally sponsored false and misleading testimony in violation of Prible’s
       due process rights, as established in Giglio v. United States, 405 U.S. 150 (1972).

   •   The State violated Prible’s due process rights by suppressing evidence of the nature of the
       arrangement between Beckcom, Foreman, and the lead prosecutor, contrary to Brady v.
       Maryland, 373 U.S. 83 (1963).

   •   The State violated Prible’s rights under the Sixth Amendment and Massiah v. United
       States, 377 U.S. 201 (1964), by employing Beckcom as a state agent.

   •   Trial and habeas counsel provided ineffective representation under Strickland v.
       Washington, 466 U.S. 668 (1984), for not raising a Massiah objection.




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(Doc. No. 1). Unlike some of Prible’s other claims,7 the above four claims had not been properly

exhausted in state court.

        Prible filed an amended petition on August 17, 2009. (Doc. No. 7). Respondent then

moved for summary judgment. (Doc. No. 12). On April 30, 2010, the Court denied the summary

judgment motion without prejudice and stayed this action to allow Prible to seek state court review

of his unexhausted claims. (Doc. No. 23, at 3). This Court’s stay order noted that “Prible secured

the affidavits supporting his unexhausted claims after state habeas review had concluded,” raising

the possibility that the state court might allow Prible to file a successive state habeas action. (Id.).

        C.     Successive State Proceedings

        On September 8, 2010, Prible filed a successive application for habeas relief in the 351st

District Court of Harris County, raising the following claims:

    •   Whether “[t]he State violated Prible’s rights guaranteed by the Sixth Amendment” and
        Massiah;

    •   Whether “[t]he State intentionally sponsored false and misleading testimony in violation
        of Prible’s due process rights,” as established in Giglio;

    •   Whether “[t]he State violated due process by concealing the nature of the arrangement
        between Beckcom, Foreman and the lead prosecutor,” contrary to Brady;

    •   Whether “[i]n violation of due process, the State permitted its key witness to mislead the
        jury about the existence and extent of the benefits he expected to receive for testifying
        against Prible,” contrary to Giglio; and

    •   Whether “Prible is actually innocent of capital murder.” U.S. Const. amends. VIII, XIV.




7
  Prible’s original petition also included claims of improper admission of testimony about the
children’s deaths, ineffective representation in the handling of DNA evidence, violation of his right
to a jury composed of a fair cross-section of society, withholding of information by the prosecution
from the defense, and actual innocence.
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                1.      Factual Basis of Prible’s Successive State Litigation

        The above five claims were based on allegations that Beckcom and Foreman were part of

a ring of informants at FCI Beaumont whom Prosecutor Kelly Siegler had recruited and fed

information to assist her in securing a conviction against Prible. The allegations relied heavily on

an August 26, 2010, interview that Prible’s federal habeas counsel had with a federal inmate, Carl

Walker, Jr. Federal counsel did not secure an affidavit memorializing Walker’s story, but prepared

a transcription of the interview. (Doc. No. 99, Ex. 2).

        In the interview, Walker described how informants were “recruited” at FCI Beaumont

Medium to testify in particular cases, including Prible’s. (Id. at 4). Walker recounted that, not

long after he arrived at FCI Beaumont in the summer of 2000, Beckcom and Foreman approached

him in an attempt to bring him into the informant circle. Walker assumed that “the prosecutor was

working directly with Foreman,” but he was not sure whether Foreman or Beckcom “had more

direct control or direct communication with the prosecutor.” (Id. at 9, 29).

        According to Walker, Beckcom and Foreman knew from Siegler that Prible was coming

to FCI Beaumont even before Prible arrived. (Id. at 9). Walker described how Beckcom and

Foreman “s[at] me down, they t[old] me these various events and supposedly details of [Prible’s]

case and whose [sic] who, and what’s what.” (Id. at 11). Beckcom and Foreman then gave

Siegler’s number to Walker and directed Walker to call Siegler so that she could assess whether

Walker was “a candidate” to testify against Prible. (Id. at 13). Walker said he called Siegler

“[o]nce or twice.” (Id.). The other men were “always on the phone” with Siegler. (Id. at 23).

Foreman was “on the phone almost on a daily basis” regarding the case. (Id. at 28). Walker also

said that the recruiters directed him to “write a letter” to be sent to Siegler describing “details about

[Prible’s] case” that Beckcom and Foreman had told him. (Id. at 13). Walker claimed that

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“common sense” told him that “someone high on the food chain was feeding these guys the

information because [Prible] wasn’t telling” Walker facts about the crime. (Id. at 14, 15). “[T]he

whole plot was made out before it was actually executed.” (Id. at 14).

        The understanding was always that informants would be rewarded with “time off, or

benefits.” (Id. at 16). Overall, Walker described a ring of “five or six” informants who were trying

to incriminate inmates like Prible.        (Id. at 22).    That same ring, Walker explained, was

simultaneously involved in setting up another inmate, Hermilo Herrera, for another cold case

murder. (Id. at 21–22). According to Walker, “this is how you have [the] miraculous coincidence

that the same group of guys . . . have been confessed to by two different people on two different

murders, totally different murders.” (Id. at 21). Walker further described how the informants

associated with Prible, including Beckcom and Foreman, got Prible drunk and high, and took group

pictures with him to create at least the appearance of a bond with Prible. The men’s role was to

“get . . . information, then bank it, bank, it.” (Id. at 20).

        To Walker’s knowledge, however, Prible never actually confessed. (Id. at 16). Walker did

not think that Prible had committed the murders. (Id. at 18). Ultimately, Walker did not testify

against Prible. He said he came to a “moral . . . crossroad” when he asked himself: “[Am I] going

to openly lie about information I had no idea about and send this man to his death?” (Id. at 30).

He added: “I just know these guys is guilty of conspiring against him and working to recruit me

and others or whomever that would listen to, actually, ah, get him on death row. I know that for a

fact. I do know for a fact that Kelly Siegler was involved.” (Id. at 49).

                2.      Litigation of Prible’s Successive State Application

        After Prible filed his successive habeas application in the trial court on September 8, 2010,

the trial court forwarded his application to the Texas Court of Criminal Appeals. Under article

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11.071 § 5(a) of the Texas Code of Criminal Procedure, a Texas inmate may file a successive state

application only in limited circumstances, including when “the current claims and issues have not

been and could not have been presented previously in a timely initial application or in a previously

considered application . . . because the factual or legal basis for the claim was unavailable on the

date the applicant filed the previous application . . . .” The Court of Criminal Appeals remanded

Prible’s application for the convicting court to determine “whether the factual basis for these

claims was unavailable on the dates that applicant filed his previous applications.” Ex parte Prible,

No. WR-69,328-04, 2010 WL 5185846, at *1 (Tex. Crim. App. Dec. 15, 2010). The Court of

Criminal Appeals ordered that Prible “shall have the opportunity to show when and how he

obtained the evidence at issue and whether he exercised reasonable diligence to obtain this

evidence at the earliest opportunity.” Id.

       In January 2011, Prible moved for in camera review of the prosecutor’s file.8 The State

did not oppose the motion and voluntarily provided some material for review. The State disclosed

three letters that prosecutors had sealed in a letter-sized envelope that was designated “attorney

work product.”9 The letters from federal inmates Jesse Gonzalez, Mark A. Martinez, and Walker

each described how Prible provided details of the crime while in prison. (Doc. No. 99, Ex. 3).

Each explained that Prible told them varying details about the killing. The men referred to prior

conversations with Siegler and her interaction with all three. Walker’s letter named Beckcom and

Foreman, hinted at Siegler’s “previous conversations” with them, described how Walker was




8
  During the pendency of the state habeas proceedings, this Court also authorized discovery of
Bureau of Prisons telephone records which showed repeated phone calls between Beckcom and
Siegler before trial. Prible v. Quarterman, No. 4:08-mc-316, Doc. 18 (S.D. Tex. 2018).
9
  The letters are not dated. Two envelopes with the letters were dated in April and May 2002, a
few months before trial and a few months after Prible left federal custody.
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“present on many occasions when [Prible] was telling his side of the story,” and ended: “I’m more

than willing to testify to these things in court. I’m currently serving a thirty year sentence for

Possession w/Intent to Distribute. I will help you in any way I can and would appreciate any help

you could give me.” (Id. at 10).

        The state trial level habeas court held an evidentiary hearing on June 8 and 9, 2011, to

determine whether the factual basis for Prible’s conspiracy and prosecutorial misconduct claims

was unavailable when Prible filed his previous state habeas applications. At this hearing, the court

heard testimony from an investigator who worked with Prible’s trial counsel; an investigator who

worked with defense attorneys who represented inmate Hermilio Herrero, a defendant in an

unrelated case involving the same alleged ring of informants; Roland B. Moore, III, Prible’s initial

state habeas counsel; and Kurt Wentz, one of Prible’s trial attorneys.

        State habeas counsel Moore provided an affidavit in state habeas court explaining what

efforts he made to develop evidence outside the trial record to contest the legality of Prible’s capital

conviction and sentence, including information regarding the ring of informants. Successive State

Habeas Record at 411–16.10 In his affidavit, Moore stated that, during the period of time that he

represented Prible, he “suspected that Beckcom had perjured himself” and “that [Beckcom’s]

cellmate Nathan Foreman was involved with Mr. Beckcom in a scheme to give false testimony.”

Id. 412. Moore accordingly took “extraordinary measures to contact [Foreman, who was] the one

person who had been identified as a possible member of such a ring or organization.” Id. Trial

counsel “had no leads to any other members of a ring or organization of informants” at the time of



10
  The Court will refer to the Record from Defendant’s application for writ of habeas corpus in the
351st District Court of Harris County, Texas, No. 921126-B, as “Successive State Habeas Record
at _.”


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trial. Id. Among those measures, state habeas counsel “subpoenaed Foreman and attached him to

another case.” Id. at 413. But Foreman “refused to say anything. Foreman refused to talk after

he realized what [trial counsel] wanted to speak to him about.” Id.

        On June 24, 2011, the state habeas court issued its “Findings of Fact Pursuant to Tex. Code

Crim. App. Art. 11.071, Sec. 5(a)(1).” Id. at 797–804. As the title suggests, the court did not rule

on the substance of Prible’s claims, but found, as a procedural matter, that Texas’s abuse-of-the-

writ doctrine foreclosed review. The court specifically found that “the factual basis for the instant

claims were available when [Prible’s] initial habeas petition was filed in November, 2004” and

that “a factual basis for [Prible’s] conspiracy theory may have been available at the time of [his]

trial.” Id. at 801, 803.

        The state court’s procedural determination was, nonetheless, intertwined with its

assessment of the evidence Prible had provided for his claims. The court summarized that Prible

“raise[d] five claims alleging a conspiracy among the lead prosecutor in his case and several

federal prison inmates who were housed with [Prible] at FCI Beaumont.” Id. at 798. The court’s

findings acknowledged Prible’s allegations that Siegler had fed “otherwise-unknown details about

[Prible’s] case” to Foreman, who in turn “provided information with a ring of snitches he recruited

to assist the lead prosecutor in obtaining a false confession from [Prible],” rendering Beckcom a

“state agent” and his trial testimony “perjured.” Id. at 799. The state court concluded that Prible’s

allegations were largely based on Walker’s interview statement. Id. The state court, however,

found Walker’s statement not persuasive because it “consist[ed] almost entirely of hearsay and

speculation and contain[ed] no direct evidence of [Prible’s] conspiracy theory.” Id. The state

court further concluded that Prible “present[ed] no evidence establishing that State’s witness

Michael Beckcom has recanted his testimony regarding [Prible’s] confession that he committed

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the capital murder,” and, in fact, Beckcom “denies [Prible’s] claim that he was provided with

information about [Prible’s] case from Nathan Foreman or the lead prosecutor.” Id. at 800. In the

end, the court concluded that Prible was not entitled to successive habeas proceedings because he

failed to show that “the factual basis for his claims was unavailable on the dates that [Prible] filed

his three previous applications, as required by TEX. CODE CRIM. PRO. art. 11.071 § 5(a)(1).” Id. at

803.

       In reaching its conclusion, however, the state habeas court did not consider the new

supporting and corroborating evidence developed during state habeas review. For instance, the

state court did not discuss the impact of the letters suppressed in Siegler’s work product file.

Instead, the decision focused on the facts presented in the state habeas application filed before

factual development occurred, centering its analysis on Walker’s statement. Based on this

circumscribed analysis, the habeas court found that “the factual basis for the instant claims were

available when [Prible’s] initial habeas petition was filed in November, 2004.” Id. at 801.

       Without explicitly adopting the lower court’s findings, the Court of Criminal Appeals held

that “the allegations fail[ed] to satisfy the requirements of Article 11.071, § 5(a)” and dismissed

Prible’s successive application as an abuse of the writ. Ex parte Prible, No. WR-69,328-04, 2011

WL 5221864, at *1 (Tex. Crim. App. Nov. 2, 2011).

       D.      Prible’s Fourth Amended Federal Petition

       Prible returned to this Court and requested additional discovery to develop his claims. This

Court granted additional discovery, including allowing Prible to access additional portions of

Siegler’s work product file. (Doc. No. 134). Federal habeas counsel also conducted various

authorized interviews and depositions of the prosecution team, FCI Beaumont informants, and

Bureau of Prisons personnel throughout 2017.

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        On March 26, 2018, Prible filed his Fourth Amended Petition for Writ of Habeas Corpus,

which is now before the Court. (Doc. No. 181). In his Fourth Petition, Prible raised sixteen claims

for relief:

        Claim 1: The State violated due process by sponsoring false and misleading
        testimony that minimized the State’s contact with key witnesses and
        communications with, and use of, other informants as state agents, to develop
        evidence incriminating Prible. (Doc. No. 181, at 162).

        Claim 2: In violation of due process guaranteed under Brady, the State suppressed
        material evidence that Beckcom and Foreman were part of an organized attempt to
        secure favors in return for fabricating a false confession. (Doc. No. 181, at 177).

        Claim 3: In violation of Brady and due process guaranteed by the Fourteenth
        Amendment, the prosecution suppressed evidence that Foreman, who Beckcom
        represented could corroborate his story, gave a different account, and was, in fact,
        fabricating evidence against Prible. (Doc. No. 181, at 196).

        Claim 4: In violation of Brady, the State suppressed evidence impeaching
        Beckcom’s testimony regarding the circumstances of the alleged “confession” and
        his motives for questioning Prible. (Doc. No. 181, at 199).

        Claim 5: The State withheld evidence that the trial court ordered produced pursuant
        to Brady. (Doc. No. 181, at 203).

        Claim 6: The State violated Prible’s rights guaranteed by the Sixth Amendment and
        Massiah. (Doc. No. 181, at 233).

        Claim 7: Prible was denied his Sixth Amendment right to effective assistance of
        counsel. (Doc. No. 181, at 237).

        Claim 8: In violation of Massiah, the State suppressed evidence that independently
        established that it had deployed Beckcom and Foreman as agents to pry
        incriminating information from Prible, even though the State was aware Prible was
        represented by counsel. (Doc. No. 181, at 242).

        Claim 9: Prible was deprived of his Fourteenth Amendment right to due process by
        the admission of evidence documenting the deaths of the complainants’ children.
        (Doc. No. 181, at 244).

        Claim 10: In violation of due process under Brady, the State suppressed material
        evidence that Siegler had consulted the head of the Harris County Crime Lab to ask
        how long semen could remain in the oral cavity and was told it lives up to 72 hours.
        (Doc. No. 181, at 233).
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       Claim 11: The State violated due process by sponsoring false and misleading
       testimony, and engaging in false and misleading argument, concerning the amount
       of time that semen could persist in the oral cavity, after being advised by the head
       of the Harris County Crime Lab that it could live up to 72 hours. (Doc. No. 181, at
       256).

       Claim 12: Prible received ineffective assistance of counsel, as a matter of federal
       constitutional law, where trial counsel failed to effectively address and rebut the
       testimony of William Watson that the semen found in Tirado must have been
       deposited in her mouth near or at the time of her death, where there was no scientific
       basis for this expert conclusion. (Doc. No. 181, at 258).

       Claim 13: Prible was denied his constitutional right to an impartial jury because the
       venire did not reflect a fair cross-section of the community. (Doc. No. 181, at 269).

       Claim 14: Prible is actually innocent of capital murder and may receive relief
       through the actual innocence gateway under Schlup v. Delo, 513 U.S. 298 (1995).
       (Doc. No. 181, at 276).

       Claim 15: In violation of due process, the State sponsored false testimony to bolster
       its rape/murder theory and to prevent corroboration of Prible’s alibi witness. (Doc.
       No. 181, at 282).

       Claim 16: Trial counsel’s failure to utilize Prible’s phone records and failure to
       exclude or refute the foundation of the state’s rape theory violated Prible’s Sixth
       Amendment right to effective assistance of counsel. (Doc. No. 181, at 266).

       Respondent filed a Motion for Summary Judgment and Answer to Petitioner’s Fourth

Amended Petition. (Doc. No. 191). Prible filed an opposed motion for an evidentiary hearing to

further explore his habeas claims on August 8, 2018. (Doc. No. 199). The stated purpose of the

hearing was to explore relevant procedural issues, including whether Prible could establish cause

and prejudice to overcome the procedural default of his prosecutorial misconduct claims. (Id. at

2–3). The Court granted the motion for evidentiary hearing on February 25, 2019. (Minute Entry

2/25/2019).

       The Court held an evidentiary hearing in which the parties presented testimony and

evidence relating to the claims involving the prosecution’s use of inmate testimony at trial.

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III.      EVIDENTIARY HEARING

          The Court held a three-day evidentiary hearing from April 29, 2019 to May 2, 2019. At

this hearing, the Court heard live testimony from Nathan Foreman, Carl Walker, Kelly Siegler,

and Terrence Gaiser (Prible’s trial attorney). The Court also viewed portions of the depositions of

Michael Beckcom, Johnny Bonds (Siegler’s investigator on Prible’s case), Victor Wisner (the

other prosecutor on Prible’s case), and Siegler. The Court summarizes the testimony as it applies

to Prible’s federal habeas claims, as follows.

          A.     Testimony of Nathan Foreman

          At the evidentiary hearing, Foreman’s testimony served two purposes: (1) provide

background into the ring of informants and their interaction with Siegler, and (2) “testify that

Beckcom’s story of him and Foreman hearing a confession from Prible was not true.” HT1-21.11

          While incarcerated in FCI Beaumont in 2001, Foreman was held in the Special Housing

Unit (“SHU”), which is “like, somewhat solitary, but only difference is there you have, like, two

other cellmates.” HT1-37. There, he met inmate Jesse Moreno, from whom he had learned some

facts about Prible’s case. HT1-39.12 Moreno suggested that Foreman contact Siegler. HT1-40.


11
  The transcript for the three-day evidentiary hearing is located at docket entries 234, 235, and
236. The Court will cite to the transcript as HT_-__.
12
     Respondent succinctly summarized Moreno’s initial interaction with Siegler as follows:
          On April 4, 2001, Jesse Moreno, an inmate at FCI Beaumont-Medium wrote a letter
          to Kelly Siegler, a prosecutor with the Harris County District Attorney’s (HCDA)
          Office, stating that he had information that could be helpful in one of her unsolved
          cases. Pet.’s Hrg. Ex. 6. Moreno served as an informant for Siegler several years
          prior in a case against Jason Morales. Id. Siegler met with Moreno on July 3, 2001,
          at FCI Beaumont-Medium. 2 EHRR 23–25. Moreno was housed in the Special
          Housing Unit (the “SHU”) at the time. Id.; see also Pet.’s Hrg. Ex. 7. During the
          interview, which Siegler recorded, Moreno provided her with information
          implicating fellow-inmate Hermelio Herrero in the murder of Albert Guajardo.
          Pet.’s Hrg. Ex. 11. Moreno told Siegler that when Herrero confessed his

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Foreman, Moreno, Beckcom, and another inmate named Rafael Dominguez all contacted Siegler

from the unit manager’s phone. HT1-45.

       Foreman did not remember when he contacted Siegler but recalled meeting her at the

Federal Detention Center in Houston. HT1-44. Siegler and her investigator, Johnny Bonds, met

with Foreman at the Federal Detention Center in Houston on August 8, 2001. HT1-14. Foreman

did not remember the content of that conversation. HT1-44, 80–81.

       Foreman testified that, after he became cellmates with Beckcom in October 2001, they met

Prible in the recreational yard. HT1-47. By that point, however, Foreman already knew some

facts about Prible’s case and had relayed them to Beckcom. HT1-51, 54. Foreman had gotten his

information from Moreno and Siegler. HT1-54.

       Foreman and other inmates were trying to “roll[] over on” Prible in exchange for “time

cuts.” HT1-49. But Prible would not talk about the crime—“he didn’t really talk about what he

was accused of,” other than to say that “they were trying to accuse him for something that he didn’t

do.” HT1-51.

       Prible’s federal habeas attorneys took Foreman line-by-line through the December 10,

2001, letter that Beckcom wrote to Siegler relating to Prible’s alleged confession. Foreman

directly contradicted Beckcom’s account and denied that Prible had ever made inculpatory

statements.    Importantly, Foreman testified that he did not recall the November 24, 2001,




       involvement in this murder to him, fellow inmates Raphael Dominguez and Nathan
       Foreman were also present. Pet.’s Hrg. Ex. 11 at 17. It appears from the transcript
       that this is the first time Siegler learned of Nathan Foreman. See Pet.’s Hrg. Ex. 11
       at 18–19. Two days later, on July 5, 2001, Siegler charged Herrero with the murder,
       specifically referencing the inculpatory information provided by Moreno. 6 Resp.’s
       Hrg. Ex. 6.
(Doc. No. 240, at 4–5) (footnote omitted).
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conversation in which Prible had allegedly confessed to the murders in his presence. HT1-59–60.

On the day that Beckcom said that Prible confessed, Foreman testified that the group of inmates

used homemade wine to try to get Prible to talk. HT1-71. Prible eventually got so drunk that

Foreman had to help him back to his unit, but Prible did not confess. HT1-71–72. Foreman said

that he would have remembered if Prible had said anything inculpatory, because he would have

used that to inform on Prible. HT1-63.

       Foreman convincingly and unwaveringly challenged the basis for Beckcom’s trial

testimony. Foreman unequivocally and credibly testified that Beckcom did not provide truthful

testimony at trial. HT1-64, 70. Foreman testified that Beckcom “should have been a book writer

or something,” because his testimony was “not true” and completely fictional. HT1-64. The Court

finds that Foreman was a credible witness.

       B.     Testimony of Carl Walker, Jr.

       The constitutional claims in Prible’s federal petition find their origin in the interview Carl

Walker Jr. gave to Prible’s attorney in 2010.13 Walker was incarcerated in FCI Beaumont

contemporaneously with Prible. Walker testified credibly about his involvement in the ring of

informants vying to inform on Prible. Walker testified that he was “approached or recruited” by

some inmates who asked “if [he] wanted a blessing, opportunity to get out of jail without having

to do all [his] sentence.” HT1-95. The men offered him an opportunity to get a time cut by

testifying against Prible. HT1-97. Walker said that he thought that Foreman approached him, but

it could also have been Beckcom or his cellmate Oscar Gonzalez. HT1-95, 126. Prible was to be




13
 Counsel had difficulty finding Walker because of confusion over an inmate with a similar name.
HT1-119–20.
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“a mark . . . [i]n every sense of the word. . . . [H]e was going to be a scapegoat for several

individuals to have an opportunity to get out of prison sooner than later.” HT1-106.

       The men already had a “plethora of information about Mr. Prible’s case” when they

approached Walker—“details, locations, what was found, where the body was, what happened.”

HT1-95. The men concocted a plan to “collaborate as if we became prison buddies or pals or et

cetera [with Prible], and then he, all of a sudden, feel compelled to confess all these horrific

things.” HT1-98. The men would then “writ[e] letters to the prosecutor asking to be a witness

or—or volunteering to be a witness because we was just so overwhelmed about the information he

supposedly give us.” Id. The two main people involved in this plan were Beckcom and Foreman.

HT1-99. Walker was given instructions to call Siegler and tell her what he had supposedly found

out from Prible. HT1-100.

       In the meantime, a grand jury returned an indictment against Prible on August 29, 2001.

Prible would be transferred from FCI Beaumont Medium to the Harris County Jail on November

29, 2001. Before he left, however, on November 24, 2001, the group staged a photo “to create a

picture of close intimacy with Mr. Prible, a close connection. . . . to show that . . . he would be

comfortable enough or confident enough in your friendship to give you this information.” HT1-

111. Walker said that everyone in the photo was involved in the plot against Prible, as well as

against other inmates. HT1-102, 103.

       Walker testified that the group made a batch of wine specifically for Prible and drank it

with him. The men intended for him to get so drunk that he would provide details about the

murders. HT1-114. However, Walker said that it “really didn’t matter” if Prible actually

confessed, because “the knowledge was already there, you know. That was more of a formality,




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like, you would go through the motions. You would set it up.” HT1-114–15, 127. To Walker’s

knowledge, Prible never actually confessed. HT1-115.

       Walker, nonetheless, sent Siegler a letter offering to testify that Prible had confessed.

Walker testified that he did not write it himself, he only signed it. HT1-116. Walker’s letter was

among those kept in the work product folder. Walker explained that the inmates’ letters were

designed to corroborate each other. HT1-117. He believed that Beckcom wrote the letters,

primarily because “[t]he only place to type letters is either in the law library, or maybe if you, like,

a teacher or instructor or something teaching a class, you could have privacy or you’ll have the

exclusivity to have access to a typewriter.” HT1-132. Beckcom was the only inmate in the

conspiracy with that access.

       Walker was a credible witness who was unwavering in his testimony. Walker provided

trustworthy testimony that corroborated Foreman’s rejection of Beckcom’s trial testimony.14

       C.      Deposition Testimony of Johnny Bonds

       Bonds was Siegler’s investigator on the Prible case.           Bonds provided some general

background information about the investigation into Prible. He also noted that, initially, there was


14
   Respondent argues that “Prible’s conspiracy theory alleging a state-run ring of informants rests
almost entirely on speculative statements made by Carl Walker.” (Doc. No. 240, at 12).
Respondent supports that argument with a factual finding by the state habeas court that “Walker’s
statements . . . consist almost entirely of hearsay and speculation and contain no direct evidence
of [Prible’s] conspiracy theory,” and that Walker’s statements “are unpersuasive and have little
evidentiary value with respect to the validity of [Prible’s] habeas claims regarding any alleged
conspiracy involving the lead prosecutor and federal inmates.” (Doc. No. 191, at 13) (quoting
Successive State Habeas Record at 799–800). Respondent fails to consider important differences
between the allegations in the state habeas proceedings and those as they have developed in the
instant case. The state court only considered Walker’s statement, which included hearsay and
speculation. His federal evidentiary hearing testimony, however, provided substance to his
speculation and first-hand knowledge about the events. Walker’s evidentiary hearing did not
provide much testimony placing Siegler at the head of a ring of informants, but more than
confirmed that a conspiracy existed at least among the inmates themselves. The state factual
findings, therefore, addressed a much different issue than that considered by this Court.
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not enough information to charge Prible. HT1-143. Bonds’s experience with the case, however,

was somewhat limited. Bonds said that he had never spoken to Beckcom. HT1-140. Bonds also

explained that he never saw Walker’s letter to Siegler. HT1-154–55. However, after reviewing

the informant letters, he acknowledged that it looks like the same person typed them, because they

look identical. HT1-180–81.

       Bonds testified that, during the August 2001 meeting with Foreman at the Federal

Detention Center, “two minutes into his conversation, I’m like, This [sic] guy is lying. He doesn’t

know anything about this case.” HT1-140. Bonds said that Siegler felt the same way. HT1-172.

       When confronted with his own notes documenting a visit that he and Siegler had with

Foreman at FCI Beaumont in December 2001, Bonds was surprised. HT1-160–62. He only

recalled meeting Foreman once. Bonds did not know why they would meet with Foreman when

they knew he was a liar. HT1-162–63. Bonds assumed that his notes reflect Siegler’s report to

him about a meeting that she had with Foreman, rather than a meeting both Bonds and Siegler

were in. HT1-164.15

       Bonds acknowledged that Foreman and Beckcom “might have colluded to get more

information.” HT1-169. He also acknowledged that it was unlikely that Prible would talk about

his crime to other inmates after he was indicted. HT1-171–72.




15
  Respondent concedes that “[n]either Bonds, Siegler, nor Foreman recalled that meeting, but
handwritten notes from Bonds suggest the meeting likely occurred.” (Doc. No. 240, at 8).
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       D.      Deposition Testimony of Vic Wisner

       Wisner was Siegler’s co-counsel on the Prible case. Wisner, however, did not have much

information directly relevant to this case. For example, Wisner did not know about Foreman.

HT1-190. From Wisner’s testimony, it was obvious that Siegler guided the prosecution and trial.

       Although Wisner said that, as a defense attorney, he would have wanted to know about

Foreman and the other inmates who wrote letters in the case, he placed the greatest weight on the

presence of Prible’s semen in Tirado’s mouth. HT1-200–10. He acknowledged that, without the

semen, the evidence about the informants would be much more important. HT1-204.

       E.      Deposition Testimony of Michael Beckcom

       Beckcom’s testimony was presented from a video deposition. In many ways, Beckcom’s

hearing testimony mirrored that which he gave at trial. Beckcom found out about Siegler’s

connection to Prible’s case from Foreman after they became cellmates. HT1-215. Beckcom said

that he called Siegler from the unit manager’s phone. HT1-214. The purpose of Beckcom’s first

phone call was to discuss the possibility of arranging for a reduction in his sentence. HT1-238.

Siegler made clear in that conversation that he needed to get specifics about the case. HT1-238.

From then on, Beckcom took notes after conversations with Prible “[t]o have the information that

Kelly Siegler asked [him] to get.” HT1-239. Beckcom, however, said that a prosecutor has never

given him details about a crime in connection with his work as an informant, HT3-7, and that

Siegler specifically did not give him details about the facts of Prible’s case, HT3-12–13.

       At trial, Beckcom testified that he found out that Prible was coming to FCI Beaumont

Medium before he arrived. HT1-221. Beckcom and Foreman talked about trying to get a

confession from Prible “plenty.” HT1-220. But Beckcom did not recall Foreman telling him facts

about Prible’s case. HT3-17.

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       Beckcom explained that he was one of “a group of guys from Houston, which after this

whole thing got set in motion, it kind of became evident to me that this whole group of, like,

fricking ten guys were trying to get information, and somehow I ended up with the information.”

HT1-218. Beckcom, however, did not know at the start of a conspiracy against Prible; he “kind

of surmised that later on.” HT1-220.

       Beckcom confirmed that Foreman was with him every time Prible talked about his case.

HT1-239. Beckcom explained, “[t]he details Jeff Prible gave me, he gave completely and

explicitly to me and Nathan Foreman one night. He just rolled it out.” HT1-218. Beckcom opined

that Foreman’s affidavit stating that Prible never confessed is false. HT1-249.

       From the beginning, Beckcom testified that Siegler led him to believe that he would “get

walked out . . . for [his] testimony” against Prible. HT1-214. Siegler told Beckcom, “[t]his

probably will get you out of prison.” HT1-213. Beckcom thought that Siegler told him that she

had talked to the federal prosecutors about his own case and they would “play ball.” HT1-230–

31. He said that he had no other reason to develop evidence against Prible other than to receive a

Rule 35 letter for a sentence reduction. HT1-236. Beckcom “knew [Siegler] had lied” because he

only received one year off of his sentence for his testimony. HT1-214.

       In many ways, Beckcom was not a credible witness. From the Court’s review of the record

and its observation of his live testimony, it is obvious that Beckcom was dishonest when it suited

his needs. In other areas, however, Beckcom’s testimony corroborated other testimony and the

timeline of events. While the Court finds that Beckcom was generally not a credible individual,

certain areas of his testimony can be confirmed when compared to the record.




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       F.      Testimony of Kelly Siegler

       Siegler testified both by deposition and in live examination before the Court. Siegler

testified about her meeting with Foreman at FDC in August 2001. While she brought the Prible

case to the grand jury after she met with Foreman, Siegler testified that her decision had nothing

to do with him. HT2-45. She did not tell the grand jury that there was a prison informant in

Prible’s case. HT2-47.

       Siegler testified that she never met with Foreman after the FDC meeting. Siegler said that

Foreman probably tried to call her, but she did not remember “what we talked about for very long

because I knew he was a liar.” HT2-95. Siegler claimed that she simply did not believe Foreman

and would not have wanted more information from him. HT2-40–41. Siegler conceded, however,

that even though she similarly did not believe Foreman in Herrero’s case and accordingly did not

use his testimony at trial, she nonetheless wrote a Rule 35 letter for him. HT2-52–53, 56–57.

When confronted with the evidence that she requested a second meeting with Foreman in

December 2001, after she received a letter from Foreman’s attorney stating that Foreman knew

where the murder weapon was, she said she did not remember why she wanted the second meeting.

HT2-105–09.

       Siegler recalled receiving the letters from Gonzalez, Walker, and Martinez, but she claimed

that she did not believe their accounts. HT2-67–70. As Respondent observes, “Siegler did not use

Forman [sic], Gonzalez, Martinez, or Walker as witnesses, because she did not find them credible.”

(Doc. No. 240, at 9). Curiously, Siegler said that the letters were in the file open for Prible’s

defense attorneys to read. HT2-71. This, of course, turned out to be untrue.

       Siegler acknowledged that she reached out to Beckcom’s federal prosecutor months before

Prible’s trial to introduce herself. HT2-115–16. She discussed a possible Rule 35 for Beckcom in

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those pretrial conversations. HT2-117. Siegler said she told Beckcom about the conversations she

had with his prosecutor to reassure him about the Rule 35 letter. HT2-118–19.

       Consistent with her deposition testimony, Siegler maintained in her live examination that

she did not find Foreman credible and did not need to disclose information about her meetings

with him to Prible’s defense counsel. HT3-38, 42–43. She opined Foreman was a liar “in a

category all by himself.” HT3-49. She also reiterated that she did not need to disclose information

about Moreno to Prible’s defense counsel. HT3-35–43.

       Siegler testified that she did not give any inmate at FCI Beaumont information about

Prible’s case or encourage any inmate to obtain information against Prible. HT3-46–47. Siegler

said that, to the best of her knowledge, this was the only capital case in which she used prison

inmates who were in the same facility as the accused as witnesses. HT3-47.

       Siegler acknowledged that she first spoke to Pam McInnis, head of the Harris County crime

lab, about the semen and DNA evidence. HT2-144–45. McInnis said that semen could live up to

72 hours in the oral cavity. HT2-145. Siegler thought this evidence was in the trial, but she could

not remember if she told Prible’s counsel about McInnis’s conclusion. Id.

       Siegler’s testimony was not credible on both minor and major points. Siegler made several

statements that the record directly refutes. For example, when asked about the SHU (which is

where Foreman met Jesse Moreno), she claimed she did not know what the SHU was and that she

had never heard the term before. HT2-25. In addition to the fact that SHU is a well-known term,

Siegler herself referred to the SHU at Prible’s trial. HT3-26 (quoting 26 RR 96). She also testified

that the letters from the other inmates trying to inform on Prible were in the open file; it is now

undisputed that they were in her work product file and were not disclosed to defense counsel. She

testified that she never saw Foreman after the August 2001 FDC meeting; yet, there is unrefuted

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evidence that she had a meeting with him in December 2001 at FCI Beaumont. She testified that

this was the only capital case in which she used prison inmates as witnesses; in fact, she has done

so in numerous other cases. (Doc. No. 241, at 39–40). Siegler was also combative in demeanor

and did not appear forthcoming with many of her answers.

       G.      Testimony of Terry Gaiser

       Gaiser, Prible’s trial attorney, was appointed on September 28, 2001. HT2-155. Gaiser

confirmed that he had not seen the note about McInnis’s conclusions on the semen evidence before

the federal habeas proceedings. HT2-193. Gaiser said that he asked Siegler for information about

how she came into contact with Beckcom. HT2-164. However, Siegler never told him that she

had communicated with Foreman or that she had determined that Foreman was lying. HT2-165.

In fact, Siegler did not tell Gaiser anything about Foreman; Gaiser was aware of Foreman only

because of Beckcom’s statements. HT2-165–66. Siegler also did not tell Gaiser that she wrote a

Rule 35 letter for Foreman in connection with other cases. HT2-172. Siegler never mentioned

Jesse Moreno to Gaiser either. HT2-166.

       Gaiser said he would have wanted the letters and evidence about the other inmates because

that evidence “brings into question the credibility of these people in the Beaumont facility in terms

of people wanting to give information to get consideration for doing this.” HT2-179. However,

he never saw any of these pieces of evidence before trial. HT2-179–80.

       Gaiser confirmed that Siegler had previously told him that she could not contact inmates

at FCI Beaumont by phone. HT2-187–88. Gaiser said that the knowledge that she could, in fact,

call them was important so he could ascertain “who was cultivating who? . . . [W]ho precipitated

the—the information? Who—who was the instigator of the—the informant’s testimony?” HT2-

188.

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        With that background, the Court will consider the constitutional claims raised in Prible’s

fourth amended petition.

IV.     LEGAL STANDARDS

        “The writ of habeas corpus stands as a safeguard against imprisonment of those held in

violation of the law.” Harrington v. Richter, 562 U.S. 86, 91 (2011). Federal habeas corpus review

provides an important, but limited, examination of state criminal judgments. Because “state courts

are the principal forum for asserting constitutional challenges to state convictions,” id. at 103,

concerns for comity, federalism, and finality define the contours of federal habeas review. See

Calderon v. Thompson, 523 U.S. 538, 555–56 (1998); Barefoot v. Estelle, 463 U.S. 880, 887

(1983); Engle v. Isaac, 456 U.S. 107, 128 (1982).

        Accordingly, federal jurisprudence sets procedural hurdles to federal habeas review of state

criminal proceedings. “[T]wo fundamental tenets” govern federal review of state convictions:

        First, a state prisoner must exhaust available state remedies before presenting his claim to
        a federal habeas court. . . . Second, a federal court may not review federal claims that were
        procedurally defaulted in state court—that is, claims that the state court denied based on
        an adequate and independent state procedural rule.

Davila v. Davis, 137 S. Ct. 2058, 2064 (2017). “These requirements ensure that the state courts

have the first opportunity to correct any error with a state conviction and that their rulings receive

due respect in subsequent federal challenges.” Skinner v. Switzer, 562 U.S. 521, 541–42 (2011)

(Thomas, J., dissenting). In the case of procedural default, however, the bar to federal review may

be lifted “if the prisoner can demonstrate cause for the [procedural] default [in state court] and

actual prejudice as a result of the alleged violation of federal law.” Maples v. Thomas, 565 U.S.

266, 280 (2012) (internal quotation marks omitted) (alterations in original).

        If an inmate has presented his claims in a manner allowing the state courts to resolve their

merits, AEDPA provides for a highly deferential federal review. AEDPA “bars relitigation of any
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claim adjudicated on the merits in state court, subject only to the exceptions in [28 U.S.C.]

§§ 2254(d)(1) and (d)(2).” Richter, 562 U.S. at 98 (internal quotation marks omitted). Under

those provisions, “a federal court may not grant a habeas corpus application . . . unless the state

court’s decision ‘was contrary to, or involved an unreasonable application of, clearly established

Federal law, as determined by the Supreme Court of the United States,’ or ‘was based on an

unreasonable determination of the facts in light of the evidence presented in the State Court

proceeding.’” Berghuis v. Thompkins, 560 U.S. 370, 380 (2010) (first quoting 28 U.S.C. §

2254(d)(1), then quoting id. § 2254(d)(2)).16 “The question under AEDPA is not whether a federal

court believes the state court’s determination was incorrect but whether that determination was

unreasonable—a substantially higher threshold.” Schriro v. Landrigan, 550 U.S. 465, 473 (2007)

(citing Williams v. Taylor, 529 U.S. 362, 409–10 (2000)); see also Morrow v. Dretke, 367 F.3d

309, 313 (5th Cir. 2004); Foster v. Johnson, 293 F.3d 766, 776 (5th Cir. 2002). Simply put,

“AEDPA prevents defendants—and federal courts—from using federal habeas corpus review as a

vehicle to second-guess the reasonable decisions of state courts.” Renico v. Lett, 559 U.S. 766,

779 (2010). Federal courts also generally presume that the state courts have made correct factual

findings, unless rebutted by clear and convincing evidence. See 28 U.S.C. § 2254(e)(1).




16
   The Supreme Court has clarified that relief lies under § 2254(d)(1) if (1) “the state court arrives
at a conclusion opposite to that reached by this Court on a question of law,” (2) “the state court
decides a case differently than this Court has on a set of materially indistinguishable facts”; or (3)
“the state court identifies the correct governing legal principle from this Court’s decisions but
unreasonably applies that principle to the facts of the prisoner’s case.” Williams v. Taylor, 529
U.S. 362, 413 (2000); see also Thaler v. Haynes, 559 U.S. 43, 47 (2010); Bell v. Cone, 535 U.S.
685, 694 (2002); Early v. Packer, 537 U.S. 3, 7–8 (2002).
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V.     ANALYSIS

       A.      Brady Claims (Claims 2, 3, 4, 5, and 10)

       Claims 2 through 5 and 10 rely on Brady v. Maryland, 373 U.S. 83 (1963), in which the

Supreme Court held that “the suppression by the prosecution of evidence favorable to an accused

upon request violates due process where the evidence is material either to guilt or to punishment,

irrespective of the good faith or bad faith of the prosecution.” Id. at 87. “There are three

components of a true Brady violation: (1) the evidence at issue, whether exculpatory or

impeaching, must be favorable to the accused; (2) that evidence must have been suppressed by the

State, either willfully or inadvertently; and (3) prejudice must have ensued.” Canales v. Stephens,

765 F.3d 551, 574 (5th Cir. 2014) (quoting Strickler v. Greene, 527 U.S. 263, 281–82 (1999)). In

evaluating whether the evidence was material, the evidence is “considered collectively, not item

by item.” Kyles v. Whitley, 514 U.S. 419, 436 (1995). Impeachment evidence must also be

disclosed under Brady. See United States v. Bagley, 473 U.S. 667, 676 (1985). Evidence that

enables the defense to “attack[] the reliability of the investigation” is also Brady material. Kyles,

514 U.S. at 446.

       The extensive factual development in this case has created a rich and complicated portrait

of what happened at trial and what was not known to the defense. Years of litigation have resulted

in a dense record full of complex arguments and detailed allegations, often branching out into

different cases and implicating various incarcerated individuals.

       But the ultimate facts of this case are simple. The State’s case rested on two facts: (1) a

single witness who testified that Prible confessed to the murders and (2) testimony suggesting that

Prible’s DNA had entered Tirado’s mouth only a short while before her death. As the Court will

discuss further below, the State did not disclose the full extent of its interaction with its star

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witness, Michael Beckcom. The State also failed to disclose evidence which would enable the

defense to argue that Beckcom had fabricated his story, conspired with others to inculpate Prible,

and tried to corroborate his contrived story by typing letters for other inmates to sign. Given the

weakness of the State’s case against Prible, stopping the defense from developing impeachment

evidence against its star witness is unconstitutional.

       The State also hid evidence about its DNA evidence. Prible admitted that he had sexual

relations with Tirado. He claimed, however, that they had done so hours before the murder

happened. The State’s case depended on showing that the sexual acts occurred moments before

Tirado died. The State did not disclose that it had developed evidence supporting the defense’s

expert testimony on the DNA, but still presented testimony with directly opposite scientific

conclusions. The suppression of information from the defense hampered, if not prevented, the

development of a defense to counter the two facts that supported Prible’s conviction.

       As previously discussed, no matter how egregious the underlying constitutional violation,

certain procedural requirements curb federal habeas review. Before turning to the merits of

Prible’s Brady claims, the Court must decide whether he has presented those arguments in a timely

and procedurally proper manner.

       1.      Procedural Reviewability

       Respondent argues that procedural defects preclude federal review of Prible’s Brady

claims. First, Respondent contends that Prible did not file some of those claims in federal court in

a timely manner, rendering them time-barred by the AEDPA one-year limitations period. Second,

Respondent argues that Prible failed to litigate his claims in compliance with state law, rendering




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them procedurally unreviewable. As discussed below, the Court finds that all of Prible’s Brady

claims are available for federal review.

                a.      Limitations Period

         Respondent argues that Prible filed Claims 3, 4, 5, and 10 outside the time period allowed

under AEDPA’s limitations period. AEDPA established a one-year deadline, subject to statutory

and equitable tolling, in which an inmate must raise his federal habeas claims after the conclusion

of state review.17 Prible filed a timely federal habeas petition on June 18, 2009. On March 26,

2018, Prible filed his Fourth Amended Habeas Petition raising Claims 3, 4, 5, and 10 for the first

time. Because Prible raised those claims almost nine years after his original petition, Respondent

contends that they are barred from federal consideration. As discussed below, the Court finds that




17
     AEDPA provides:

         (1) A 1-year period of limitation shall apply to an application for a writ of habeas corpus
         by a person in custody pursuant to the judgment of a State court. The limitation period shall
         run from the latest of—

                (A) the date on which the judgment became final by the conclusion of direct review
                or the expiration of the time for seeking such review;
                (B) the date on which the impediment to filing an application created by State action
                in violation of the Constitution or laws of the United States is removed, if the
                applicant was prevented from filing by such State action;
                (C) the date on which the constitutional right asserted was initially recognized by
                the Supreme Court, if the right has been newly recognized by the Supreme Court
                and made retroactively applicable to cases on collateral review; or
                (D) the date on which the factual predicate of the claim or claims presented could
                have been discovered through the exercise of due diligence.

         (2) The time during which a properly filed application for State post-conviction or other
         collateral review with respect to the pertinent judgment or claim is pending shall not be
         counted toward any period of limitation under this subsection.
28 U.S.C. § 2244(d).
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the claims are available for federal consideration because (1) Claims 3, 4, and 5 relate back to the

original petition and (2) the facts leading to Claim 10 could not have been discovered previously.

       Prible argues that Claims 3, 4, and 5 relate back to the seventh claim in his original petition.

A federal habeas court may consider the merits of an otherwise untimely claim if it relates back to

a timely filed federal habeas petition. See Mayle v. Felix, 545 U.S. 644, 656 (2005). A claim in

an amended federal habeas petition relates back under Federal Rule of Civil Procedure 15(c) if the

timely claim and the proposed claim to be added by amendment “are tied to a common core of

operative facts.” Id. at 664. “An amended habeas petition . . . does not relate back . . . when it

asserts a new ground for relief supported by facts that differ in both time and type from those the

original pleading set forth.” Id. at 650.

       Prible’s seventh claim, the only Brady claim in the original petition, focused on the State

suppressing evidence of its relationship with Foreman, Beckcom, and other informants, and the

impact this suppression had on the defense’s ability to impeach Beckcom’s credibility at trial.

Specifically, the seventh claim’s “core of operative facts” asserted that the State suppressed:

   •   evidence that Siegler had contacted Foreman, Beckcom’s cellmate, on numerous
       occasions;

   •   evidence that Siegler was using a circle of informants (including Beckcom and
       Foreman) at the prison to investigate and provide testimony against Prible;

   •   evidence that Foreman and his crew were told specifics about the offense that the
       State was trying to prove against Prible; and

   •   evidence that Siegler used the ring of informants to prosecute defendants in other
       cases.

The original petition alleges that the suppressed evidence was material, because “defense counsel

would have completely undermined the integrity of the State s [sic] case if he had information that

would have allowed him to demonstrate that the State was involved in a conspiracy to violate Mr.


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Prible’s right to counsel and was trying to incriminate Mr. Prible with the testimony from members

of this conspiracy.” (Doc. No. 1, at 44).

       Claims 3, 4, and 5 in the Fourth Amended Petition cover substantially the same allegations.

Specifically, the Fourth Amended Petition describes the challenged claims as follows:

   •   Claim 3: In violation of Brady and due process guaranteed by the Fourteenth
       Amendment, the prosecution suppressed evidence that Foreman, whom Beckcom
       represented could corroborate his story, gave a different account, and was, in fact,
       fabricating evidence against Prible. (Doc. No. 181, at 196).

   •   Claim 4: In violation of Brady, the State suppressed evidence impeaching its
       [Beckcom’s] testimony regarding the circumstances of the alleged “confession”
       and his motives for questioning Prible. (Doc. No. 181, at 199).

   •   Claim 5: The State withheld evidence that the trial court ordered produced pursuant
       to Brady. (Doc. No. 181, at 203).

       The only difference between the Brady claim in the original petition and those in the Fourth

Amended Petition is that, as a result of additional discovery in the case, the new claims specify

with greater particularity the evidence that Siegler suppressed. In other words, the original and

amended claims share a common core of operative facts: they concern suppression of exculpatory

evidence that (1) originates from the same time (a five-month period between July and December,

2001), (2) was suppressed by the same actor (Siegler), (3) concern the same subject matter (the

State’s relationship to Foreman and Beckcom and their motives and roles in the ring of informants),

and (4) is material for the same reason (impeachment of Beckcom’s testimony regarding the

alleged confession).

       Mandacina v. United States, 328 F.3d 995 (8th Cir. 2003), which the Supreme Court in

Mayle cited with approval in laying out the relation back standard, is instructive. In Mandacina,

the inmate’s original federal habeas petition raised a Brady violation involving the suppression of

“evidence of other suspects obtained by the Gladstone Police Department.” Id. at 1001. The


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inmate then sought to amend his habeas petition to include suppression of a particular report—to

which the original petition made no reference—that documented a witness interview implicating

other persons in the victim’s murder. The Eighth Circuit held that the amended pleading related

back to the original pleading. See id. Mayle suggests that relation back was appropriate in

Mandacina because “[b]oth pleadings related to evidence obtained at the same time by the same

police department.” Mayle, 545 U.S. at 664 n.7. The relationship between Claims 3, 4, and 5 and

the original seventh claim closely resembles the relationship between the original and amended

pleadings in Mandacina. The only difference between the allegations in the original petition and

the challenged ones is that, as a result of additional discovery in the case, the later claims specify

with greater particularity the evidence that was suppressed by Siegler. As in Mandacina, the

suppressed evidence that is mentioned for the first time in the new claims falls directly under the

category of suppressed evidence already identified in the original petition and, thus, those claims

relate back to the original petition. The Court thus finds that Claims 3, 4, and 5 relate to a common

core of facts that do not differ in substantial thrust from the allegations made in Prible’s earlier

filings.18




18
   In the alternative, Prible argues that the Court can reach any procedurally defaulted claims
through the Schlup v. Delo, 513 U.S. 298 (1995), actual innocence gateway. In Schlup, the
Supreme Court held that prisoners seeking review of defaulted claims on the ground of actual
innocence must establish that “it is more likely than not that no reasonable juror would have found
petitioner guilty beyond a reasonable doubt” in light of “new reliable evidence—whether it be
exculpatory scientific evidence, trustworthy eyewitness accounts, or critical physical evidence.”
Id. at 324, 327. A Schlup claim of innocence is “not itself a constitutional claim, but instead a
gateway through which a habeas petitioner must pass to have his otherwise barred constitutional
claim considered on the merits.” Id. at 315 (quoting Herrera v. Collins, 506 U.S. 390, 404 (1993)).
However, because the Court determines that Prible’s amended pleadings relate back to his original
pleadings and are thus are not barred by AEDPA’s limitations period, the Court need not reach
Prible’s actual innocence claim.
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       Respondent also argues that Prible failed to raise Claim 10 in a timely manner. Claim 10

argues that, “[i]n violation of due process under Brady, the State suppressed material evidence that

Siegler had consulted the head of the Harris County Crime Lab to ask how long semen could

remain in the oral cavity, and was told it lives up to 72 hours.” (Doc. No. 181, at 233). Habeas

counsel learned of the suppressed evidence only through Siegler’s own notes, which were

disclosed on May 11, 2017, pursuant to this Court’s order. The suppressed evidence is material,

Prible argues, because “it supports his defense that he had consensual sexual contact with Nilda

earlier in the night before she was murdered, rather than immediately prior to her execution.” (Id.)

Prible highlights the fact that “Petitioner could not have discovered these notes earlier; it took a

court order for the HCDA [Harris County District Attorney’s] Office to finally let Petitioner see

them.” (Doc. No. 198, at 56).

       Section 2244(d)(1)(D) provides that the AEDPA limitations period begins to run from “the

date on which the factual predicate of the claim or claims presented could have been discovered

through the exercise of due diligence.” Because the State kept information about Siegler’s

interaction with the crime lab hidden in the attorney work product file, Prible could not have known

of the facts that would have supported a Brady claim until at least May 11, 2017, when the State

finally disclosed Siegler’s work product file. Prible could not have discovered the factual basis of

that claim earlier because the State only disclosed Siegler’s work product material pursuant to

court order. Prible filed his amended habeas petition on March 26, 2018, within one year of the

disclosure. Thus, Prible filed Claim 10 in a timely manner under 28 U.S.C. § 2244(d)(1)(D).

       The Court therefore concludes that Claims 3, 4, 5, and 10 are not barred by AEDPA’s

limitations period.




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                      b.      Procedural Default

       Respondent next argues that Prible’s Brady claims are procedurally unreviewable because

Prible failed to litigate his claims in compliance with state law. A federal constitutional claim

raised on federal habeas is procedurally defaulted and may not be reviewed if the last state court

to consider that claim expressly relied on an adequate and independent state procedural bar for

denial of relief. See Coleman v. Thompson, 501 U.S. 722, 750 (1991). A procedural default may

be excused, however, if a petitioner can show cause and prejudice to overcome the default. Id. at

750–51. The Court finds that Prible’s Brady claims are procedurally defaulted, but that Prible has

shown cause and prejudice to overcome the default.

                              i.      Prible’s Brady Claims Are Procedurally Defaulted

       The Court agrees that Prible’s second Brady claim is procedurally defaulted. As discussed

above, the state court dismissed Prible’s successive state habeas application, which included Claim

2, under Texas’s “abuse of the writ doctrine,” codified at Texas Code of Criminal Procedure

Article 11.071 § 5(a). A dismissal pursuant to Article 11.071 “is an independent and adequate

state ground for the purpose of imposing a procedural bar” in a subsequent federal habeas

proceeding. Hughes v. Quarterman, 530 F.3d 336, 342 (5th Cir. 2008).

       The Court further agrees with Respondent that Prible’s other Brady claims are procedurally

defaulted. “A procedural default also occurs when a prisoner fails to exhaust available state

remedies and ‘the court to which the petitioner would be required to present his claims in order to

meet the exhaustion requirement would now find the claims procedurally barred.’” Nobles v.

Johnson, 127 F.3d 409, 420 (5th Cir. 1997) (quoting Coleman v. Thompson, 501 U.S. 722, 735 n.1

(1991)); see also Finley v. Johnson, 243 F.3d 215, 218 (5th Cir. 2001). Without distinguishing

between individual claims, the state trial level habeas court dismissed Prible’s successive state

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habeas petition because it concluded that the “factual basis” for Prible’s ring-of-informants

“conspiracy theory” was “available” when Prible filed his original state habeas petition in 2004.

(Doc. No. 90-1 ¶¶ 26, 32, 34). Given the breadth of this conclusion, as well as the similarities

between Claims 3–5 and Claim 2, which was included in the successive petition, it is clear that the

state court would apply the same procedural bar to Claims 3–5 if presented with those claims.

Respondent reaches the same conclusion. For Claims 3–5, Respondent avers that “the Texas

abuse-of-the-writ doctrine, set out in Tex. Code Crim. Proc. Art. 11071 § 5, would procedurally

bar Prible’s attempt to raise this unexhausted claim in a subsequent writ application.” (Id. at 32).

Respondent similarly asserts that Claim 10 “would be dismissed as an abuse of the writ if he were

to raise [it] in a subsequent state habeas application.” (Doc. No. 191, at 150). Prible’s Brady

claims are procedurally defaulted.19



19
   Respondent also briefly argues that Claims 3–5 are unreviewable because they are unexhausted,
(Doc. No. 191, at 32), though Respondent does not raise the same argument against Claim 10, (Id.
at 150; Doc. No. 240). However, by acknowledging the procedural default of Claims 3–5 and 10,
Respondent has effectively waived any nonexhaustion argument. See Thompson v. Wainwright,
714 F.2d 1495, 1501 (11th Cir. 1983) (“[W]hen the state affirmatively acknowledges futility [of
exhaustion] . . . its statement is often considered under the rubric of waiver.”); see also McGee v.
Estelle, 722 F.2d 1206, 1212–13 (5th Cir. 1984) (citing Thompson for the proposition that “the
state may waive exhaustion”). Treating an acknowledgement of procedural default as a waiver of
exhaustion makes sense because exhaustion is a matter of comity, not jurisdiction, and comity does
not require that a federal court force a case back into the state system when the state itself has
determined that review would be procedurally barred. See Felder v. Estelle, 693 F.2d 549, 551–
54 (5th Cir. 1982) (discussing waivers of exhaustion and comity). Moreover, waiver aside,
nonexhaustion does not bar review of Claims 3–5 and 10 because “exhaustion is not required if it
would plainly be futile.” Graham v. Johnson, 94 F.3d 958, 969 (5th Cir. 1996). Exhaustion is
futile if “there is no opportunity to obtain redress in state court . . . .” Id. (quoting Duckworth v.
Serrano, 454 U.S. 1, 3 (1981)). The procedural default of Claims 3–5 and 10 renders redress in
state court unavailable. See Coleman v. Thompson, 501 U.S. 722, 732 (1991) (“A habeas petitioner
who has defaulted his federal claims in state court meets the technical requirements for exhaustion;
there are no state remedies any longer ‘available’ to him.”). Thus, ultimately, it is the procedural
default, and not the nonexhaustion, of Claims 3–5 and 10 that presents a procedural hurdle to their
federal review.

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                               ii.     Cause and Prejudice Overcomes Default

       A procedural default may be excused upon a showing of cause and prejudice. Fisher v.

State, 169 F.3d 295, 301 (5th Cir. 1999). “The resolution of ‘when and how defaults in compliance

with state procedural rules can preclude federal court consideration of a federal question is itself a

federal question.’” Barrientes v. Johnson, 221 F.3d 741, 763 (5th Cir. 2000) (alterations omitted)

(quoting Fairman v. Anderson, 188 F.3d 635, 641 (5th Cir.1999)). “To the extent, therefore, that

the Texas Court of Criminal Appeals decided issues of cause and prejudice in dismissing

[defendant’s] [successive] State Petition, we are not bound by its decision.”20 Id.

       “[T]he existence of cause for a procedural default must ordinarily turn on whether the

prisoner can show that some objective factor external to the defense impeded counsel’s efforts to

comply with the State’s procedural rule.” Murray v. Carrier, 477 U.S. 478, 488 (1986). “[A]

showing that the factual or legal basis for a claim was not reasonably available to counsel, or that



20
   The situation in Barrientes closely parallels that here. Barrientes’s federal habeas petition
contained prosecutorial misconduct claims, including a Brady claim, related to exculpatory
evidence from a sheriff’s file that Barrientes alleged was unavailable to him when filing his state
court habeas application. See Barrientes, 221 F.3d at 752, 764. Barrientes was sent back to state
court to exhaust his prosecutorial misconduct claims. Id. at 750. The Texas Court of Criminal
Appeals denied his successive petition as an abuse of the writ, rendering his claims procedurally
defaulted. Id. In considering whether Barrientes had shown cause and prejudice to overcome the
default, the Fifth Circuit held that it was “not bound” by the Texas Court of Criminal Appeals’
abuse-of-the-writ decision and that the district court should have held an evidentiary hearing to
reach its own findings as to cause and prejudice. Id. at 763, 768.
        Still, Respondent argues that 28 U.S.C. § 2254(e)(1)—which provides that “a
determination of a factual issue made by a State court shall be presumed to be correct” unless
rebutted by “clear and convincing evidence”—nonetheless requires that this Court, in conducting
its cause analysis, apply a presumption of correctness to the state court’s underlying factual
determinations articulated in its “Findings of Fact Pursuant to Tex. Code Crim. App. Art. 11.071,
Sec. 5(a)(1).” Respondent cites no binding precedent for this claim. Even so, the Court finds, as
discussed infra, that Prible has rebutted with clear and convincing evidence the state court’s key
findings of fact in support of its decision to apply the abuse of the writ doctrine to his successive
state court habeas petition.
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some interference by officials made compliance impracticable, would constitute cause under this

standard.” Id. (citations omitted). “A Brady violation can provide cause and prejudice to

overcome a procedural bar on a habeas claim.” Thompson v. Davis, 916 F.3d 444, 455 (5th Cir.

2019); see also Banks v. Dretke, 540 U.S. 668, 691 (2004).

        The Supreme Court has recognized overlap between a substantive Brady claim and the

showing required to overcome the procedural bar of a Brady claim. For a defaulted Brady claim,

“cause and prejudice parallel two of the three components of the alleged Brady violation itself.”

Strickler v. Greene, 527 U.S. 263, 282 (1999); see also Banks, 540 U.S. at 691. There are three

elements of a substantive Brady claim: “The evidence at issue must be favorable to the accused,

either because it is exculpatory, or because it is impeaching; that evidence must have been

suppressed by the State, either willfully or inadvertently; and prejudice must have ensued.”

Strickler, 527 U.S. at 281–82.      “Corresponding to the second Brady component (evidence

suppressed by the State), a petitioner shows ‘cause’ when the reason for his failure to develop facts

in state-court proceedings was the State’s suppression of the relevant evidence.” Banks, 540 U.S.

at 691. “[C]oincident with the third Brady component (prejudice), prejudice within the compass

of the ‘cause and prejudice’ requirement exists when the suppressed evidence is ‘material’ for

Brady purposes.” Id.

        The Court will discuss the favorable evidence that Siegler suppressed, and its materiality

under Brady’s prejudice prong, at length in addressing the merits of Prible’s Brady claims, see

infra V.2.a & V.2.b. Here, the Court focuses on how Siegler’s suppression of that evidence

prevented Prible from developing his Brady claims in state court, thus providing cause to overcome

their default.




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       “Under Banks, a petitioner shows ‘cause’ if ‘the reason for his failure to develop facts in

state-court proceedings was the State’s suppression of the relevant evidence.’” Murphy v. Davis,

901 F.3d 578, 597 (5th Cir. 2018) (quoting Banks, 540 U.S. at 691). It is beyond serious dispute

that the prosecution withheld critical information from the defense in this case. Siegler knew that

Beckcom was associated with several other inmates intent on gaining favor by securing evidence

against Prible, and that some of these same inmates were involved in the case against Hermilo

Herrero. Yet the State did not divulge that other inmates sought out the prosecution to inform

against Prible. Nor did Siegler disclose the extent of her interactions with Beckcom or the precise

nature of the deals made for his testimony. Nor did she reveal the extent of her interactions with

Foreman or divulge that Foreman—who, without testifying, still loomed over the trial testimony—

had twice given patently false accounts of Prible’s supposed confession to her.

       In the end, the Court need not look further than the State’s own file to demonstrate that

Siegler prevented the defense from learning about exculpatory material evidence.            In her

deposition, Siegler claimed that she had an “open file” policy and did not maintain a separate work

product file. (Doc. No. 181, Ex. 4-A, at 112, 147). In reality, however, the State maintained a

dense work product file containing a significant amount of exculpatory information that was not

disclosed to the defense, including notes memorializing meetings with Foreman and Beckcom

concerning Prible’s case, letters from several inmates—including Walker—trying to inform on

Prible, and a note revealing that Siegler had consulted Pam McGinnis, the head of the Harris

County Crime Lab, who told her semen could live up to seventy-two hours in the mouth.21 These


21
   As discussed in this Court’s order compelling production of certain materials contained in
Siegler’s work product file, the work product doctrine does not excuse Siegler’s suppression.
(Doc. No. 154, at 2). As an attorney representing a client, a prosecutor is entitled to rely on the
work product, within constitutional limitations. The work-product doctrine protects “documents

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materials came to light only because of court proceedings and court orders occurring after Prible

filed his initial federal petition.

        The State’s suppression of evidence prevented Prible from developing his Brady claims in

state court proceedings. Prible’s trial attorney, Terrence Gaiser, brought several pre-trial Brady

motions requesting that the State furnish, among other things, the date, place, and manner of all

contacts with Beckcom, a statement of how contact with Beckcom was first initiated, a copy of all

statements made by Beckcom, notes of any conversations had with Beckcom, and any agreements

made with Beckcom concerning benefits in exchange for testimony. 2 RR 4, 6, 8. In response,

Siegler provided a handwritten note from Beckcom and indicated that he had been the one to

initiate contact. HT2-165. At a pre-trial hearing, Siegler disclosed that she had had four or five

telephone conversations with Beckcom. Siegler did not, however, disclose that she had initiated

some of those contacts, that she had long been communicating with Beckcom’s cellmate Foreman,

or that she found Foreman’s testimony regarding Prible’s confession to not be credible. Id. Gaiser

testified at the evidentiary hearing that he had reviewed everything in the State’s file on Prible, but

that the file did not include the letters from Walker and other inmates concerning Prible’s case, or

any other information that would have alerted him to Siegler’s contacts with the other informants.



and tangible things that are prepared in anticipation of litigation or for trial by or for another party
or its representative []including the other party’s attorney . . . .” Fed. R. Civ. P. 26(b)(3). “[T]he
work product doctrine insulates a lawyer’s research, analysis of legal theories, mental impressions,
notes, and memoranda of witnesses’ statements from an opposing counsel’s inquiries.” Dunn v.
State Farm Fire & Cas. Co., 927 F.2d 869, 875 (5th Cir. 1991). But “[t]he privilege derived from
the work-product doctrine is not absolute.” United States v. Nobles, 422 U.S. 225, 239 (1975).
“Because Brady is based on the Constitution, it overrides court-made rules of procedure. Thus,
the work-product immunity for discovery . . . prohibits discovery . . . but it does not alter the
prosecutor’s duty to disclose material that is within Brady.” See 2 Charles Alan Wright, Federal
Practice and Procedure § 254.2 (3d ed. 2000); see also Dickson v. Quarterman, 462 F.3d 470, 479
n.7 (5th Cir. 2006) (quoting Wright § 254.2). The work-product doctrine cannot excuse Siegler’s
efforts to hide relevant and exculpatory information from the defense, including information about
her contacts with inmates and letters inmates sent to her claiming that Prible confessed.
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Indeed, Siegler’s co-counsel, prosecutor Victor Wisner, attested that even he was not made aware

of Siegler’s communications with the other informants, or the letters they sent her. HT1-189–97.

Because of the evidence Siegler suppressed, Prible’s defense team had no knowledge of her

contacts and communications with other FCI Beaumont informants, or even the full extent and

nature of her contacts with Beckcom.

       Similarly, evidence of a larger ring of informants was not available to Prible’s state habeas

counsel, Roland Moore, despite his diligent attempts to discover it. Siegler’s suppression of

evidence left precious little for Moore to work with in investigating suspicions of prosecutorial

misconduct. The only information Moore had was the identities of Beckcom and Foreman, and

Prible’s suggestion that a man with the last name of Walker might have relevant information.

(Doc. No. 198-1, at 57–59). Beckcom and Foreman refused to speak with Moore. (Id. at 57). And

though Moore tried to find a person named Walker, with no other identifying information, that

effort quickly became “a fool’s errand.” (Id. at 59). With no concrete evidence to support such

claims, Moore did not include any prosecutorial misconduct claims in Prible’s original federal

habeas application.

       Prible later sought to discover Walker’s identity and whereabouts on his own, but

mistakenly assumed that a different person, Larry Wayne Walker, was the Walker with

information about the ring of informants. Prible sent Larry Walker several letters through Ward

Larkin, a layperson and anti-death penalty advocate. (Doc. No. 181-51, at 14). Only through sheer

coincidence did Prible learn Carl Walker’s identity: after Larry Walker was transferred from FCI

Beaumont to a BOP facility in Yazoo, Mississippi, where Carl Walker had also since been

transferred, he realized Carl Walker might be the intended recipient of the letters and shared them

with him. (Id. at 48); HT1-121. Although Carl Walker did alert Larkin that he was the Walker

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being sought, Carl Walker did not respond to further inquiries at the time, (Doc. No. 181-51, at

48), and Prible had no way to contact him further (Doc. No. 198, at 15–16). Thus, even though

Prible identified Carl Walker before he filed his 2007 pro se petition, he had no way to obtain

supporting evidence from him.22 Only after federal proceedings commenced did Walker change

his mind and provide a statement.

       Respondent argues that Prible cannot establish cause to overcome the default of his Brady

claims because he, like the defendant in Robison v. Johnson, 151 F.3d 256 (5th Cir. 1998),

“confuses knowledge of the factual predicate of the claim with access to the best evidence

supporting that claim.” (Doc. No. 191, at 37). But the facts adduced at the evidentiary hearing as

just described clearly undermine this argument. Although Prible may have suspected prosecutorial

misconduct, including Brady violations, during the course of state court proceedings, Siegler’s

efforts to suppress evidence of her contacts with Beckcom and the other informants left Prible with

no concrete evidence to support such a claim during those proceedings, despite Prible and his

counsel’s diligent efforts to discover such evidence. Prible may not be penalized for failing to

raise claims for which he lacked any evidence. Strickler, 527 U.S. at 286 (“Proper respect for state

procedures counsels against a requirement that all possible claims be raised in state collateral

proceedings, even when no known facts support them.”). Relatedly, because Prible has shown by

clear and convincing evidence that the factual predicates for his Brady claims were not available

until after he had filed his state court habeas applications, Prible has refuted any presumption of

correctness owed to the State court’s findings to the contrary.



22
  Prible also had no means to compel Walker’s testimony through court-ordered process. Texas
law does not authorize discovery on subsequent applications unless a court finds that the
application meets the requirements of Article 11.071 § 5, and the Texas Court of Criminal Appeals
found that Prible did not meet those requirements.
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       In sum, Siegler’s suppression of evidence created an external obstacle that impeded

Prible’s ability to bring his Brady claims during state habeas proceedings. Siegler’s actions in this

case therefore provide cause to forgive the procedural default of Prible’s Brady claims.

       In addition to cause for the default, Prible must show actual prejudice. As discussed above,

the prejudice inquiry in this context overlaps with Brady’s materiality standard. See Banks, 540

U.S. at 698 (“Unless suppressed evidence is material for Brady purposes, its suppression does not

give rise to sufficient prejudice to overcome a procedural default.” (quotation and alterations

omitted)). The test for materiality and prejudice is whether “there is a reasonable probability that,

had the evidence been disclosed to the defense, the result of the proceeding would have been

different.” Strickler, 527 U.S. at 280; see Banks, 540 U.S. at 698. As the Court will discuss infra

in connection with the underlying Brady claim, Prible has shown actual prejudice from the State’s

withholding of information.

       Accordingly, the Court finds that Prible’s Brady claims are procedurally reviewable. The

Court first reviews Prible’s Brady claims stemming from the prosecution’s use of informants

(Claims 2–5) and then Prible’s Brady claim relating to the State’s investigation into DNA evidence

(Claim 10). Because the state courts did not adjudicate the merits of Prible’s Brady claims, this

Court’s review of those claims is de novo.

       2.      The Suppressed Evidence Was Favorable to Prible’s Defense

               a.      Prible’s Ring of Informants Brady Claims (Claims 2–5)

       Prible’s four interrelated Brady claims concern the suppression of evidence about the group

of FCI Beaumont informants. Prible claims that:

   •   Claim 2: In violation of due process guaranteed under Brady, the State suppressed
       material evidence that Beckcom and Foreman were part of an organized attempt to
       secure favors in return for fabricating a false confession. (Doc. No. 181, at 177).

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   •   Claim 3: In violation of Brady and due process guaranteed by the Fourteenth
       Amendment, the prosecution suppressed evidence that Foreman, whom Beckcom
       represented could corroborate his story, gave a different account, and was, in fact,
       fabricating evidence against Prible. (Doc. No. 181, at 196).

   •   Claim 4: In violation of Brady, the State suppressed evidence impeaching
       [Beckcom’s] testimony regarding the circumstances of the alleged “confession”
       and his motives for questioning Prible. (Doc. No. 181, at 199).

   •   Claim 5: The State withheld evidence that the trial court ordered produced pursuant
       to Brady. (Doc. No. 181, at 203).

At their core, each of the four claims relate to Prible’s purported confession and Siegler’s

interaction with FCI Beaumont inmates.

                              i.      Information about Nathan Foreman

       The State suppressed substantial evidence about Nathan Foreman, who, although he did

not testify at trial, was used by the state to corroborate Beckcom’s testimony. At trial, the State

based its case in large part on inmate witness Beckcom, without calling any other witnesses to

corroborate his testimony that Prible confessed to other inmates. Even so, the State sought to

implicitly bolster Beckcom’s testimony by emphasizing that Prible told Foreman, and others, about

the murders.

       Beckcom testified at trial that he received Siegler’s name from his cellmate, Foreman, and

that Foreman was present for each of his relevant conversations with Prible. Beckcom was able

to create a more convincing story by adding Foreman to his narrative because it gave the

impression that someone else had heard the same confession, thereby making it less likely that

Beckcom fabricated the story. Foreman was, in essence, a non-testifying corroborating witness to

Beckcom’s story about Prible’s confession—and the prosecution implied as much. For instance,

when countering the defense’s argument that Beckcom derived information about Prible’s




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probable cause statement, Siegler argued in closing that other inmates “never saw Jeff Prible show

it to Mike Beckcom or Nathan Foreman.” 28 RR 83.

       The facts developed through the federal habeas process show, however, that the jury lacked

significant information about Foreman, and consequently, about Beckcom’s credibility. Well

before Prible was indicted, Siegler anticipated using inmate testimony. (Doc. No. 181, at 19–20).

Jesse Moreno, an inmate who had acted as an informant in the past, suggested that Siegler and

investigator Johnny Bonds seek out the assistance of Foreman. In a pre-trial hearing, Siegler stated

that Foreman first contacted her in October of 2001 and that she did not meet with him until

December of 2001. 20 RR 12. Not until this Court ordered the disclosure of Siegler’s work

product notes, however, was it verified that Siegler and Bonds met with Foreman at the Federal

Detention Center in Houston on August 8, 2001.

       After charges were filed on Prible, he was moved from FCI Beaumont Low to FCI

Beaumont Medium on July 25, 2001. Around this time, Foreman was moved from FCI Beaumont

Medium’s SHU back into general population. (Doc. No. 181, Ex. 17, 18). Foreman and Beckcom

became cellmates.

       On August 8, 2001, Siegler and Bonds met with Foreman at the Federal Detention Center

in Houston to find out what Foreman knew about Prible (the “August 8 Meeting”). They learned

that Foreman was looking for a deal to testify against Prible. However, both Siegler and Bonds

testified that they believed that Foreman not only lacked credibility, but also was fabricating

evidence against Prible before he had even met him.

       Board of Prisons (BOP) records indicate that Foreman continued to speak with Siegler after

the August 8 Meeting. (Doc. No. 181, Ex. 21). Foreman’s attorney also contacted Siegler. (Doc.




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No. 181, Ex. 23). Siegler’s notes show that even Foreman’s wife contacted her. (Doc. No. 181,

Ex. 19).

       Bonds’ notes show that Siegler met with Foreman again on December 10, 2001,

immediately before an interview she had with Beckcom, in which Beckcom drafted a ten-page

document describing his alleged conversation with Prible. (Doc. No. 181, at 26). The notes

memorializing that meeting were placed in the work product file. (Doc. No. 181, Ex. 20). Siegler

maintains that they did not find Foreman credible throughout the interaction. HT3-38–39.

       Siegler did not tell the defense about her interactions with Foreman, other than to mention

that he called her “around October of 2001” and that they did not “go see him until December.”

20 RR 12. Respondent argues that, “[d]espite what Prible contends . . . the prosecutor was under

no duty to disclose this information” primarily because “Forman [sic] did not testify against Prible.

Th[e] nature and extent of his meetings with the State is [sic] not, therefore, likely to impact the

jury’s verdict on guilt-innocence.” (Doc. No. 191, at 113–14).

       Respondent’s argument relies on a constricted view of Foreman’s explicit and implicit

influence in this case. Before even meeting Prible, Foreman claimed to have knowledge about

him. The prosecution continued communicating with Foreman, even though Siegler professed to

find him lacking credibility.

       Importantly, Foreman’s credibility was not independent from Beckcom’s testimony.

Foreman was the only other man present when Prible allegedly confessed; he was the only person

who could vouch for Beckcom’s testimony.              Because Beckcom’s testimony turned on

conversations witnessed by Foreman, information about Foreman and his credibility would be

central to the jury’s assessment of the only testimony describing the crime. Yet for reasons not

completely apparent on federal habeas review, the prosecution found Beckcom credible while

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determining that Foreman was not. Evidence that Foreman had previously claimed, falsely, that

Prible confessed; that Foreman was working with Beckcom and other inmates to provide evidence

against Prible in exchange for a sentence reduction; that Siegler provided Foreman with

information about Prible’s case (namely, the existence of the DNA evidence); that Siegler had

written Foreman a Rule 35 letter in another case even though she determined that he was not

credible; and that Foreman worked with Beckcom to orchestrate a confession, all had substantial

impeachment value. The information about Foreman also casts doubt on the State’s method of

investigation: it demonstrated that Siegler was willing to meet with, take evidence from, and do

favors for inmates she deemed not credible. Siegler kept that information from the defense. HT2-

165, 186–87. Simply put, the State suppressed exculpatory and material evidence about Foreman.

                               ii.     Letters from Other Inmates

       During his successive state proceedings, Prible sought in camera review of the State’s file.

The State did not oppose that motion, but still did not turn over the whole file. For the first time

in February 2011, the State provided Prible with three letters that prosecutors had sealed in a letter-

sized envelope designated “attorney work product.” The letters to Siegler were from inmates Carl

Walker, Mark Martinez, and Oscar Gonzalez. These letters all indicated that several inmates had

heard Prible confess to the murders. As described in Walker’s letter, “[a]s you may, or may not,

know from previous conversations with Nathan Foreman, myself, Mark Martinez, Jesse Gonzalez,

his father Felix Gonzalez and Beckcom were all close friends of Pribble [sic].” (Doc. No. 99-3, at

10). Each letter offered to testify against Prible in exchange for a time cut. (Doc. No. 99-3). The

letters each told a similar story and provided corroboration for the others.

       At a minimum, the letters reveal that a ring of informants was engaged in a collective,

coordinated effort to secure sentence reductions in return for providing the State with incriminating

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evidence in the form of manufactured confessions. Testimony developed on federal habeas review

has shown that the corroboration was likely due to Beckcom’s calculated efforts. The inmates

testified in the evidentiary hearing that they did not write the letters. Walker testified that although

he signed a letter, he did not write it. HT1-116. Martinez denied altogether signing the letter

bearing his name. (Doc. No. 181, at 121). According to Walker, the inmates’ letters were designed

to corroborate each other, HT1-117, and he believed that they were all written by Beckcom.

Walker explained that Beckcom was the only inmate in the conspiracy with access to a typewriter,

and all of the letters were typewritten. HT1-132. Each letter misspells Prible’s name as “Pribble,”

(Doc. No. 99-3), and Beckcom’s deposition suggests that he believed that this latter spelling,

“Pribble,” was the correct one, HT1-233. It goes without saying that evidence showing that the

State’s star witness was fabricating statements by other witnesses, especially those the prosecutor

apparently did not deem credible, is favorable to the defense.

        Disclosure of these letters would have prompted a reasonable attorney to interview each of

the inmates. Both Gaiser and Wisner testified at the evidentiary hearing that the letters would have

been relevant and useful to argue that a group of men engaged in a coordinated attempt to obtain

and/or manufacture incriminating evidence against Prible.

        Respondent argues that “[t]he State had no duty to produce these letters to the defense

because they are not ‘favorable’ as contemplated under Brady.”               (Doc. No. 191, at 45).

Respondent, however, bases this argument on a confined view of the benefit the documents would

have had to the defense. Respondent argues:

        Each of the letters contain the assertion that Prible confessed to the murders. Nor
        are they impeachment evidence. They do not, as Prible claims, prove his ring-of-
        informants claim or undermine the credibility of Beckcom’s testimony. The fact
        that multiple federal inmates wrote to the prosecutor regarding another fellow
        inmate seeking to trade incriminating information for a reduction in their sentence
        does not prove the State solicited their help, or that Beckcom’s testimony is false.
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       Nor does the fact that Beckcom was not the only inmate looking to inform on Prible
       prove a state-run conspiracy. And, as acknowledged by the state court in the habeas
       hearing “everyone knows” that it is not uncommon for federal inmates to come
       forward to testify against other inmates in order to reduce their sentences.

(Id.). True, the letters themselves do not establish that Siegler guided a ring of informants that

would fabricate testimony against Prible. As shown in the evidentiary hearing, however, and as

discussed supra, the letters could certainly have been the first steps toward showing a conspiracy

formed by the inmates themselves.

       Had the letters not been hidden away in the work product file, the defense could have

pointed out similarities in the letters, both in form and in content. Testimony from the evidentiary

hearing suggested that only Beckcom would have had the opportunity to type the letters for other

inmates. And disclosing the letters would have allowed the defense to develop testimony, such as

that from Walker in the evidentiary hearing: that Prible never confessed but was in fact set up by

other inmates and that someone, likely the State’s star witness Beckcom, wrote letters for the other

inmates saying that Prible had in fact confessed.

       The evidentiary hearing testimony uncovered that the letters were likely fabricated. From

that information, as evinced by the federal evidentiary hearing, the defense could have developed

rich, credible evidence that would have challenged the content and reliability of testimony from

the State’s star witness. On federal review, disclosure of the false letters, along with suppressed

information about the State’s dealings with Foreman, shows that Beckcom was committed to

creating a false narrative about Prible’s confession. Indeed, the State did not believe Foreman,

who was said to corroborate Beckcom’s testimony against Prible. Armed with full knowledge of

Beckcom’s efforts, a reasonable jury may well have reached a different outcome. The Court thus

concludes that this evidence would have been favorable to the defense.



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                             iii.    Other Information from the Work Product File

       Prible has identified significant amounts of information that was not previously available

to the defense. Such information consists of, among others, BOP records and records from other

trials. Most problematic, however, is the information contained in the prosecutor’s work product

file. In October 2015, the State also provided for the first time other documents from the work

product file. As described by Prible, these documents included:

   •   The November 12, 2001, letter from Nathan Foreman’s attorney, Alan Percely, to
       Siegler, in which Percely conveys Foreman’s desire to provide evidence against
       Prible in exchange for Siegler’s assistance in getting Foreman’s sentence reduced.

   •   Texas Crime Information Center (TCIC)/National Crime Information Center
       (NCIC) criminal background reports for Foreman and Rafael Dominguez, dated
       December 6, 2001. These reports were produced from a folder of privileged
       material containing TCIC/NCIC reports for potential witnesses and testifying
       witnesses at Prible’s trial.

   •   A sticky note attached to would-be informant Mark Martinez’s April 30, 2002,
       letter to Siegler, which appears to memorialize a March 7th voicemail from
       Martinez regarding the Prible case. It directs Siegler to call Martinez’s counselor
       at FCI Beaumont.

   •   An undated letter from Beckcom to Siegler referencing his upcoming testimony in
       Prible’s trial and expressing concern that he could not count on his California
       AUSA to assist him, and proposing that Siegler help him secure a Rule 35 sentence
       reduction by arranging for him and another FCI Beaumont inmate named Anton
       Davi to inform on even more FCI Beaumont inmates.

   •   A letter from the HCDA to Lt. Robert Clark at FCI Beaumont, asking for
       permission for Siegler and Bonds to interview Beckcom and Anton Davi, as
       Beckcom requested, in May 2002, five months before Prible’s trial.

   •   Documents showing that, after Prible’s trial, Siegler strenuously lobbied
       Beckcom’s AUSA for a time cut and evidently even recruited an AUSA working
       out of the Houston office to weigh in on Beckcom’s behalf.

(Doc. No. 181, at 73–74). These suppressed documents reveal the extent of Siegler’s involvement

with the ring of informants and, in particular, Beckcom. Indeed, the documents indicate that, in

exchange for information on Prible and other inmates, Siegler lobbied to reduce the informants’

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sentences. They also reveal that Beckcom in fact proposed to Siegler that he inform on other FCI

Beaumont inmates in exchange for a Rule 35 sentence reduction. This information tends to

impeach Beckcom’s credibility and the manner in which the State assembled its case against

Prible. The withholding of these documents further solidifies the Court’s finding that the State in

this case withheld important, favorable information from the defense.

       Prible has accordingly demonstrated that the suppressed evidence would have been

favorable to his defense for the purposes of his third, fourth, and fifth Brady claims.

                       b.      Prible’s DNA Evidence Brady Claim (Claim 10)

       Long before Prible was charged with capital murder, the prosecution knew that Prible’s

semen had been found in Tirado’s mouth. That fact alone was not necessarily inculpatory. The

evidence did not suggest that Tirado had been sexually assaulted, and while Prible admitted that

he had sexual relations with Tirado, he claimed that it was consensual and had occurred long before

the murders. The prosecution thus needed to prove that “[t]here is no way in the world that that

semen wasn’t deposited either moments before or seconds after [Tirado] died.” 28 RR 11.

Accordingly, at trial the prosecution’s case in chief relied heavily on evidence about the longevity

of semen to prove that Prible had been in the house around the time of the killings. Indeed, Prible’s

DNA evidence was one of two pillars upon which the prosecution’s case relied almost exclusively,

the other being Beckcom’s testimony.

       At trial, the State called two expert witnesses to testify as to the DINA evidence. Testimony

from the first witness, Chief Harris County Medical Examiner Dr. Joye Carter, did not help the

State’s theory that Prible’s sexual contact with Tirado had to have occurred seconds before she

was killed. Dr. Carter testified that sperm cells can be found in a person’s mouth for hours after

ejaculation, possibly because “it could actually adhere or stick to like plaque that’s on the teeth or

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in the recesses of the mouth.” 23 RR 68. The State instead bolstered its theory with testimony

from William Watson, an expert in molecular biology. Watson did not try to estimate an exact

perimortem interval (PMI) between oral sex and death, but still testified that the quantity of the

DNA sample was inconsistent with the semen being deposited into Tirado’s mouth as long as an

hour before she was killed. He also said that the fact that he was able to obtain the male profile

“certainly would be consistent with” Prible depositing the semen in Tirado’s mouth “moments, if

not seconds, before she was killed.” 24 RR 101–03.

       The defense responded with testimony from a molecular biologist, Dr. Robert Benjamin,

who disagreed with Watson’s testimony because there were too many variables and Watson made

too many assumptions. Dr. Benjamin testified that using quantities of DNA to estimate time since

ejaculation is “just not scientifically valid” and “no controlled scientific studies” supported

Watson’s conclusions. 27 RR 123–24, 136. The prosecution, nonetheless, heavily emphasized

Watson’s testimony in its closing argument.

       In Claim 10, Prible argues that the State suppressed Brady evidence relating to Watson’s

testimony. Factual development on federal habeas review has added important new dimensions

to the DNA evidence at trial. Recent evidence refutes Watson’s methodology and conclusions.23


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   Prible attaches to his petition a report from Dr. Elizabeth A. Johnson, an expert in molecular
biology and DNA analysis. Dr. Johnson’s report rejects both Watson’s methodology and
conclusions. Dr. Johnson states that Watson “could not reliably” state that the oral swab was
“consistent with there being a great deal of sperm present” because he did not perform either a
microscopic evaluation of the sample to assess the number of spermatozoa present or a test for the
P30 protein. (Doc. 181, Ex. 114 ¶¶ 14–16). She states that, using Watson’s stated yield of DNA
in the oral swab, the volume of seminal fluid “is far less than the volume of seminal fluid that
would be found in someone’s mouth if ejaculation had occurred moments if not seconds before
the victim was killed as Mr. Watson testified upon direct examination.” (Id. ¶ 16). Dr. Johnson
also points out that there was literature at the time of trial “on the duration of spermatozoa in the
mouth after ejaculation into the oral cavity of live individuals,” which confirms that “[t]he removal
and dilution of spermatozoa from any body cavity occurs faster in a live individual than a deceased

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Even more importantly, however, factual development has revealed that the State suppressed

evidence that the prosecution had information that contradicted Watson’s testimony, but did not

turn it over to the defense.

            This Court performed an in camera review of the State’s work product file. Siegler’s notes

revealed that she had investigated the survival period for semen to determine a PMI. Siegler’s

notes revealed that she had contacted Pam McInnis, the head of the Harris County Crime Lab.

McInnis told Siegler that semen can survive in the mouth for up to seventy-two hours. Siegler

made a note about this but buried it in her work product file rather than reveal it to the defense.

(Doc. No. 181, Ex. 20).

            Prible contends that the State violated Brady by hiding the State’s knowledge about the

PMI in the work product folder. There is no question that the prosecution kept that information

from the defense. This evidence is favorable to Prible because it supports his assertion that the

oral sex was consensual and took place many hours before the murder. It also impeaches Watson’s

testimony that semen survives for only minutes, if not seconds, which the State relied heavily on

at trial.

            Respondent advances two arguments, however, as to why the suppression of this evidence

did not amount to a Brady violation that warrants habeas relief. First, Respondent argues that

“[a]lthough the evidence appears to be impeachment evidence, it lacks foundational support.”



individual due to activity.” (Id. ¶¶ 18–19). She concludes from this that “Mr. Watson could not
have reliably testified as he did at trial regarding the amount of spermatozoa on the oral swab taken
from [Tirado] or the timing of the deposit of semen into her mouth relative to the time of her
death.” (Id. ¶ 20). Accordingly, Prible argues Dr. Johnson’s expert testimony meets the Schlup
standard for innocence and that an evidentiary hearing is necessary to determine how the report
and its impeachment of Watson’s testimony would affect a jury. (Doc. No. 199, at 21). However,
because the Court grants Prible habeas relief on his Brady claims, as discussed infra, the Court
need not address Prible’s actual innocence claim.
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(Doc. No. 191, at 152). True, neither party has produced any evidence that would support the

position that the semen may exist inside the victim’s mouth for seventy-two hours. However, the

veracity of McInnis’s opinion is not the issue. The value in divulging that material to the defense

would be proving that the prosecution knew that DNA samples could last longer, possibly much

longer, than the seconds or minutes testified to by Watson. Also, disclosure would allow Prible to

argue that the State had information that would support his defense, but hid it and instead, shopped

for an expert who would support its theory.

       Second, Respondent contends that the suppressed evidence is “immaterial.” (Id. at 153).

Respondent argues that, because Dr. Carter testified that semen could exist in the victim’s mouth

for some time and Dr. Benjamin testified that scientific research did not support Watson’s

testimony, “the testimony offered at trial was sufficient to refute [Watson’s] testimony for Prible’s

purposes.” (Id.). The Court disagrees. Further evidence undercutting one of the State’s principal

arguments, especially when that evidence is from the head of the Harris County Crime Lab, could

have been of paramount importance to the defense.

       The DNA testimony was critical to the State’s case, as the State was able to argue that

Prible killed Tirado immediately after ejaculating in her mouth. Evidence that Siegler received

McInnis’s contradicting opinion undercuts both the veracity of the State’s DNA theory and

Siegler’s method of investigation. The defense could have used the suppressed note about

McInnis’s opinion to show that Siegler shopped around for someone willing to say that Prible was

lying about the timing of the oral sex, even though she knew that Prible’s version was scientifically

plausible. Accordingly, this evidence is favorable under Brady because it both refutes the validity

of Watson’s testimony and undermines the integrity of the State’s investigation of Prible’s case.




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               3.      Prejudice

       To establish prejudice, Prible must show that the nondisclosed information was material.

The test for materiality is whether “there is a reasonable probability that, had the evidence been

disclosed to the defense, the result of the proceeding would have been different.” Strickler, 527

U.S. at 280; see Banks, 540 U.S. at 698. “[T]he materiality standard for Brady claims is met when

‘the favorable evidence could reasonably be taken to put the whole case in such a different light

as to undermine confidence in the verdict.’” Banks, 540 U.S. at 698 (quoting Kyles, 514 U.S. at

435). “[M]ateriality must be assessed collectively, not point by point.” Banks v. Thaler, 583 F.3d

295, 328 (5th Cir. 2009) (citing Kyle, 514 U.S. at 436).

       The cumulative effect of the suppressed evidence in this case is such that it can “reasonably

be taken to put the whole case in such a different light as to undermine confidence in the verdict.”

Id. Had this evidence been disclosed to the defense, it would reasonably have undercut the two

pillars upon which the prosecution’s case against Prible solely rested: Beckcom’s testimony and

Prible’s DNA evidence.

       The Court turns first to the suppressed evidence relating to Beckcom’s testimony. As

discussed supra, the prosecution at trial relied heavily on Beckcom’s testimony that Prible had

confessed to him and Foreman about the murders. Beckcom’s testimony was bolstered by his

claim that Foreman was present at each interaction with Beckcom. Yet, as the Court has discussed

at length supra, the suppressed evidence—the letters to Siegler, the new information about

Foreman, and the numerous other documents uncovered in Siegler’s work product folder—reveals

an orchestrated effort by a ring of informants to fabricate a confession from Prible in return for

sentence reductions. Had this evidence been disclosed, the defense could have argued not only

that Beckcom was part of a ring of informants that sought to obtain incriminating evidence against

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Prible for their own gain, but also that Beckcom, the State’s star witness, had in fact fabricated and

falsified evidence against Prible.

       Indeed, the suppressed evidence could have been used to impeach Beckcom’s credibility.

Armed with the letters to Siegler from several would-be informants that echoed Beckcom’s

testimony regarding Prible’s confession, the defense could have emphasized Siegler’s curious

decision to present only Beckcom at trial. Such evidence, as Gaiser testified at the hearing, would

have raised questions as to what made Beckcom unique amongst the corroborating informants and,

accordingly, cast doubt on his motivations and credibility. HT2-180–81. Moreover, as Gaiser

testified, the defense could have used documents showing that Beckcom proposed informing on

even more FCI Beaumont inmates in exchange for Siegler’s help securing a Rule 35 sentence

reduction, to highlight the extent to which Beckcom was willing to go to receive personal benefit.

HT2-194–95; supra at 61–62.          This evidence would have certainly impugned Beckcom’s

motivations and credibility.

       Not only could the defense have used this evidence to impeach the State’s star witness

individually, but indeed, it could have been used to uncover a broad, orchestrated effort to

manufacture confessions against Prible and others, like Herrera. For instance, the defense could

have invoked the curious similarity in the form and content of the letters—including consistently

misspelling Prible’s name as “Pribble,” (Doc. No. 99, Ex. 3)—to show that the letters were written

by the same person or, at a minimum, in a deliberately coordinated effort. Indeed, as Gaiser

testified, the letters could have been used to demonstrate just how many inmates were willing to

act for personal benefit. HT2-179. To bolster this presentation of a ring of informants, the defense

could have pointed to the suppressed evidence that Siegler wrote and lobbied for Rule 35 sentence

reductions for Beckcom, Foreman, and numerous other informants. Moreover, the defense could

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have used suppressed evidence that Foreman was apparently present during all critical interactions

between Prible and Beckcom to cast doubt on the veracity of Beckcom’s testimony and the

trustworthiness of the State’s assembly of its case against Prible, especially in light of Siegler’s

professed distrust of Foreman. Using this evidence, in conjunction with the other documents

suppressed in Siegler’s work product file, the defense could have developed a compelling

argument around the ring of informants and cast doubt both on Beckcom’s testimony and the

manner in which the State investigated and constructed its case against Prible. Without the

suppressed evidence, the defense at trial was left to attempt to impeach Beckcom with only his

past conduct.

       Taken as a whole, these efforts would have, at the very least, cast serious doubt on the

veracity of the State’s star witness and, in turn, one of the State’s two pillars against Prible. The

materiality standard for Brady prejudice requires that there be a reasonable probability that the

outcome would have been different. Banks, 540 U.S. at 699. That standard is certainly met here.

This is especially true when considering the additional impact of the suppressed evidence related

to the State’s second pillar—DNA evidence—to which the Court turns next.

       At trial, the prosecution’s case in chief relied heavily on using Prible’s semen to prove that

he had been in the house at the time of the killings. Critical to the State’s theory of the case was

Watson’s testimony that Prible likely deposited the semen in Tirado’s mouth “moments, if not

seconds, before she was killed.” 24 RR 101–03. Suppressed evidence from Siegler’s work product

file, however, revealed a contradicting opinion from McInnis, the head of the Harris County Crime

Lab, that semen can survive in the mouth for up to seventy-two hours. (Doc. No. 181, Ex. 20).

Had this evidence been disclosed to the defense, it would have bolstered the defense’s theory that

Prible’s sexual encounter with Tirado occurred hours, not seconds, before she was killed, and that

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Prible had returned home by the time of the killing. Indeed, that this evidence came from the head

of the Harris County Crime Lab, which is connected with law enforcement, may have lent more

credibility to McInnis and accordingly may well have held more sway in the eyes of a reasonable

jury.

        Where, as here, the suppressed evidence taken as a whole would have allowed the defense

to seriously undercut the two main arguments the prosecution relied upon, the Court has no trouble

finding that a reasonable jury may well have reached a different outcome. The Court thus

concludes that the suppressed evidence is material and, accordingly, that Prible has shown

prejudice to overcome any procedural default and to satisfy the third prong of his Brady claims.

               4.      Conclusion of Brady Claims

        Unlike a civil attorney representing a client, there is a “special role played by the American

prosecutor in the search for truth in criminal trials.” Strickler, 527 U.S. at 281. A prosecutor may

litigate with zeal, but the Constitution ensures that, “though the attorney for the sovereign must

prosecute the accused with earnestness and vigor, he must always be faithful to his client's

overriding interest that justice shall be done. He is the servant of the law, the twofold aim of which

is that guilt shall not escape or innocence suffer.” United States v. Agurs, 427 U.S. 97, 110–11

(1976) (quotation omitted).

        “Courts, litigants, and juries properly anticipate that ‘obligations [to refrain from improper

methods to secure a conviction] . . . plainly rest[ing] upon the prosecuting attorney, will be

faithfully observed.’” Banks, 540 U.S. at 696 (quoting Berger v. United States, 295 U.S. 78, 88

(1935)). Here, it plainly was not. Without question, the prosecution in this case engaged in a

pattern of deceptive behavior and active concealment. And the evidence suppressed sufficiently

serves to controvert the primary basis for Prible’s conviction. Simply put, the prosecution withheld

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material evidence. The Constitution requires far more, especially in the case of a man sentenced

to death. The Court will grant habeas relief on Claims 2, 3, 4, 5, and 10.

       B.      Giglio Claims (Claims 1 and 11)

       Prible also contends that the State sponsored false and misleading testimony through

Beckcom and Watson in violation of Giglio v. United States, 405 U.S. 150 (1972). In Claim 1,

Prible focuses on Beckcom’s testimony that Beckcom and Foreman had learned of the crime only

from Prible himself. Prible relies on an array of sources—testimony from the other inmates,

records showing extensive contacts between the inmates and Siegler, and documents from other

cases—to demonstrate that Siegler gave Beckcom the information that served as the basis of his

trial testimony. In Claim 11, Prible argues that the prosecution adduced false and misleading

testimony because Watson’s DNA testimony was scientifically baseless and likely wrong.

       In Giglio, the Supreme Court held that “deliberate deception of a court and jurors by the

presentation of known false evidence is incompatible with rudimentary demands of justice.” Id.

at 153 (quotation omitted). “To establish a due process violation based on the State’s knowing use

of false or misleading evidence, [petitioner] must show (1) the evidence was false, (2) the evidence

was material, and (3) the prosecution knew that the evidence was false.” Nobles v. Johnson, 127

F.3d 409, 415 (5th Cir. 1997) (citing Giglio, 405 U.S. at 153–54). The Court “will not tolerate

prosecutorial participation in technically correct, yet seriously misleading, testimony which serves

to conceal the existence of a deal with material witnesses.” Blankenship v. Estelle, 545 F.2d 510,

513 (5th Cir. 1977).

       Prible has made a strong showing that he can meet the first two prongs of the Giglio test

with regards to Beckcom’s testimony. As discussed supra, testimony and evidence developed

after trial have shown that the defense could have developed a strong and possibly successful

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argument that Beckcom testified falsely. Additionally, Beckcom’s testimony, as one of two main

pieces of evidence that the prosecution relied on, was certainly material.

       However, the Court finds that Prible has not satisfied the third Giglio criterion. Prible has

presented evidence supporting the assertion that Siegler knew that she was presenting false

evidence. The record undeniably shows that Siegler contacted Beckcom’s prosecutor several times

in an effort to secure him a sentence reduction. Siegler minimized and hid the extent and content

of those contacts. Siegler and Beckcom even disclosed to the jury that Beckcom’s goal in

testifying was to obtain a sentence reduction. As already discussed, Siegler certainly suppressed

material that would have significantly undercut Beckcom’s story. Beckcom acted as her agent in

securing information from Prible. However, while this evidence may not reflect well on Siegler,

the Court finds that, taken as a whole, the evidence is not conclusive as to whether Siegler knew

she was presenting false or seriously misleading testimony.

       Likewise, Prible has not shown that Siegler knew that Watson’s DNA testimony was false

or seriously misleading. Siegler was aware that experts had different views on the amount of time

that semen could survive in the oral cavity. As discussed supra, she was obligated under Brady to

disclose to Prible the information that she found. However, Siegler’s failure to disclose does not

necessarily mean that she knew Watson’s testimony was false or seriously misleading.

       This Court does not endorse the cavalier attitude Siegler has displayed regarding her

constitutional duty to preserve the fundamental fairness of the trial proceedings.          Siegler

intentionally and knowingly withheld information with the defense, was deceptive about her

efforts to do so, and was far from credible in her federal court testimony. But the evidence has not

shown that she knew that Beckcom was lying or that the scientific evidence was indisputably false.

Although the issue is not free from doubt, the Court must deny Prible’s Giglio claims.

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       C.      Massiah Claims (Claims 6, 7, and 8)

       Prible raises three claims relating to the State’s influence over inmates as they sought

information from Prible.      In Claims 6 and 8, Prible argues that Beckcom and Foreman

unconstitutionally acted as agents of the State in securing information against him. In Claim 7,

Prible argues that he was denied his Sixth Amendment right to effective assistance of counsel at

trial and on state habeas because his trial counsel failed to object to Beckcom’s testimony under

Massiah and his state habeas counsel failed to make an ineffective-assistance claim on that basis.

(Doc. No. 181, at 215–19).

       As previously discussed, the prosecution’s ability to convict Prible hinged on the testimony

of a single informant. The use of informant testimony is constitutionally permissible. The

Constitution, however, requires that the informant acquire information independently, not as an

agent for the State. Under Massiah v. United States, 377 U.S. 201 (1964), a government agent

may not seek information from a criminal defendant outside the presence of the defendant’s

counsel once the Sixth Amendment’s right to counsel has attached. See Thompson v. Davis, 916

F.3d 444, 454 (5th Cir. 2019).

       “A Massiah violation has three elements: (1) the Sixth Amendment right to counsel has

attached; (2) the individual seeking information from the defendant is a government agent acting

without the defendant’s counsel’s being present; and (3) that agent ‘deliberately elicit[s]’

incriminating statements from the defendant.” Henderson v. Quarterman, 460 F.3d 654, 664 (5th

Cir. 2006) (quoting Massiah, 377 U.S. at 206). “Under the Fifth Circuit’s two-prong test for

determining whether an agency relationship exists between the government and a jailhouse

informant, the defendant bears the burden of showing that ‘the informant: (1) was promised,

reasonably led to believe, or actually received a benefit in exchange for soliciting information from

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the defendant; and (2) acted pursuant to instructions from the State, or otherwise submitted to the

State’s control.” United States v. Bates, 850 F.3d 807, 810 (5th Cir. 2017) (quoting Creel v.

Johnson, 162 F.3d 385, 393 (5th Cir. 1998)).

       When Prible first filed his federal habeas petition, he alleged that Siegler had recruited

inmate informers who, at her direction, set into motion circumstances in which they could extract

a confession from Prible. Although extensive factual development in the years since has lent

support to this ring-of-informants theory, not all of Prible’s allegations have been completely

verified. Yet, even on Beckcom’s and Siegler’s accountings of the facts, Beckcom still acted as

an agent of the State by taking Prible’s uncounseled statements with the promise of a reward from

Siegler. Before turning to the merits of Prible’s Massiah claims, however, the Court will discuss

procedural concerns raised by Respondent.

               1.      Procedural Bar

       Respondent argues that Prible defaulted his Massiah claims by litigating them in a manner

that did not comply with state law. Prible first raised a Massiah claim in his pro se application

that the Court of Criminal Appeals found to be an abuse of the writ. Prible raised the Massiah

issue again in his federal petition in 2009. By that point, Prible had developed additional evidence

supporting his allegation that Siegler had used inmates as agents to gather information against him.

As discussed above, this Court stayed proceedings in 2010 to allow Prible to exhaust state court

review of several claims, including his Massiah claim, by filing a successive state habeas

application. The subsequent actions of the state habeas court in reviewing Prible’s Massiah claim

mirror those already discussed above in relation to Prible’s Brady claims: the state court allowed

some factual development of the Massiah claim, but ultimately did not reach the claim’s merits

after finding the claim procedurally barred by Texas’s abuse-of-the-writ doctrine. Respondent

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argues that this state-imposed procedural bar renders Prible’s Massiah claim procedurally

defaulted. The Court agrees. Prible has shown, however, that he can establish cause and prejudice

to overcome the procedural default.

       As discussed supra in connection with Prible’s Brady claims, an inmate can meet the cause

requirement by showing that “some objective factor external to the defense impeded [the

defense’s] efforts to comply with the State’s procedural rule,” Murray v. Carrier, 477 U.S. 478,

488 (1986), or that “the factual or legal basis for a claim was not reasonably available to counsel,”

Coleman v. Thompson, 501 U.S. 722, 753 (1991). As with his Brady claims, Prible’s ability to

develop his Massiah claims in state court proceedings was hobbled by Siegler’s suppression of

information regarding the extent of her relationship with Beckcom and other inmates, and the

nature of the arrangement between her and Beckcom. During trial, direct appeal, and state habeas

proceedings, Prible and his attorneys had no reason to know that Siegler was suppressing evidence

of her relationship with informers. As with Prible’s Brady claim, it was only after federal habeas

counsel was finally able to conduct interviews with Walker and other inmates that Prible’s Massiah

claim became anything more than speculative. Indeed, the full nature of Beckcom’s interaction

with the prosecution only came into focus with Beckcom’s interview, clarified and contextualized

by later testimony from other inmates. Only in his deposition did Beckcom finally acknowledge

that the only reason he acted was to get himself a sentence reduction. In sum, only once federal

review began was Prible able to remove the obstacle that Siegler’s suppression of evidence had

created for the development of his Massiah claims. Because Siegler’s suppression of evidence

was an “objective factor” that impeded the development of Prible’s Massiah claims, Prible has

shown cause to overcome the default of those claims. Moreover, as discussed further below,

prejudice is clear given the critical import of Beckcom’s testimony at trial. The Court finds cause

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and prejudice to allow federal review of Prible’s Massiah claims. Because the state courts never

adjudicated the merits of his claims, federal review of those issues is de novo.

                2.      Prible’s Massiah Claim: Beckcom (Claim 6)

        In Claim 6, Prible argues that the State violated Massiah because:

        Beckcom’s testimony leaves little doubt that (1) his initial phone call to Siegler in
        early October 2001 was for the purpose of reaching an agreement for him to serve
        as an agent to investigate Prible, and (2) Beckcom had learned very little about the
        case from Prible until after he and Siegler had worked out a deal that would reward
        him for informing on Prible.

(Doc. No. 181, at 213). From this, Prible concludes that “[t]he State and Beckcom thereafter

conspired to violate Prible’s constitutional rights by eliciting statements about the crime in the

absence of defense counsel.” (Id. at 214). The issue before the Court is thus whether Beckcom

acted as an agent of the state in deliberately eliciting incriminating evidence from Prible after his

right to counsel had attached. For the purposes of analyzing this issue, the Court assumes that

Beckcom testified credibly at trial and that Prible did indeed confess to the murder, because even

under these assumptions, the Court finds that Beckcom was in an agency relationship with Siegler

in violation of Prible’s constitutional rights.

        Prible’s Sixth Amendment right to counsel had attached by the time Prible’s trial counsel

was appointed on September 28, 2001. See United States v. Gouveia, 467 U.S. 180, 189 (1984)

(“[T]he right to counsel attaches at the initiation of adversary judicial criminal proceedings.”).

Beckcom acknowledged that he first contacted Siegler in October 2001 to discuss the possibility

of receiving a sentencing reduction in exchange for information. HT1-238.

        The second question under Messiah is whether Beckcom sought out information from

Prible as an agent of the State. Under Fifth Circuit law, Beckcom must have solicited information

because he was “promised, reasonably led to believe, or actually received a benefit,” and “acted

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pursuant to instructions from the State, or otherwise submitted to the State’s control.” United

States v. Bates, 850 F.3d 807, 810 (5th Cir. 2017) (quotation omitted); see Thompson v. Davis, 941

F.3d 813, 816 (5th Cir. 2019).

        As Beckcom’s testimony shows, he entered into an agency relationship with the State

during that first conversation with Siegler. At the time of the initial meeting, Beckcom did not

have any real information about Prible. HT1-236. Beckcom said that the purpose of his initial

call with Siegler was to see whether he could arrange for a reduction in his sentence even though

he did not have any evidence at that time. 24 At trial, Beckcom testified that Siegler told him that

she would be interested only if he knew “[s]pecifics about the case.” 26 RR 37; HT1-238.

Beckcom left that meeting on a mission to secure information from Prible, knowing that he would

receive a benefit if he obtained a confession and testified against Prible. Thus, at a minimum,

Beckcom was “reasonably led to believe” that he would receive a Rule 35 letter in exchange for

getting information from Prible, and then acted pursuant to instructions from Siegler to get details

about the crime from Prible.

       Beckcom’s conversations and meetings with Siegler after the first phone call in October

2001 provide further evidence that Beckcom was acting based on promises of relief from Siegler.

As described above, in her deposition, Siegler testified that she reached out to the Assistant U.S.

Attorney working on Beckcom’s federal criminal case to talk about a Rule 35 reduction before

Beckcom even testified. Beckcom testified that he asked for assurances and wanted to make sure


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   Respondent emphasizes that “Beckcom, the informant who testified at Prible’s trial, also
indicated that he was the one to reach out to the prosecutor with information, not the other way
around.” (Doc. No. 240, at 30). Whether Beckcom or Siegler initiated contact, however, is not
the inquiry. Even if Beckcom initiated contact, he was subsequently led to believe that he would
benefit in exchange for informing on Prible and acted pursuant to Siegler’s instructions that he
obtain specific incriminating information about Prible. The Court thus concludes that Beckcom
was a state agent.
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that Siegler was in contact with the AUSA. Beckcom said Siegler told him he would probably get

out. And indeed, although Beckcom wanted a greater reduction, he did eventually receive a year

off his sentence as a result of his testimony. All this evidence indicates that Beckcom was in an

agency relationship with Siegler, which predated Beckcom’s substantive conversations with

Prible.

          Finally, Prible has shown that Beckcom “deliberately elicited” incriminating statements

while acting as the State’s agent. Beckcom acknowledged that he talked about trying to get a

confession from Prible with Foreman; accordingly, he was not merely a passive recipient of

information. Even in his testimony at trial, he admitted to asking questions about the evidence in

the case to gather the “specifics” Siegler requested. Beckcom acted deliberately in seeking out a

confession from Prible, in hopes of obtaining a reduction to his own sentence. Thus, Prible has

shown that the State violated Massiah when it used Beckcom to elicit incriminating statements

from Prible.

          Prejudice is not a close question. Beckcom’s testimony was plainly the most compelling

evidence that the jury heard at trial. Although the defense could and did impeach Beckcom’s

credibility as a jailhouse snitch, they did not have strong impeachment evidence about the actual

substance of what he relayed to the jury about Prible’s confession. Prible has made a strong case

that there is more than a “reasonable probability” that exclusion of Beckcom’s testimony would

have altered the outcome of the trial.

                 3.     Prible’s Massiah Claim: Foreman (Claim 8)

          Prible has also raised a Massiah claim based on Foreman’s alleged work as a state agent.

Prible argues that the State suppressed evidence that Foreman was a state agent before and during

the time that he and Beckcom were trying to obtain a confession from Prible. Prible primarily

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bases this claim on the meeting that Foreman had with Siegler and Bonds at FDC in August 2001.

Although it is undisputed that the State did not disclose this meeting and that Foreman tried to

inform on Prible, Foreman did not testify that Siegler gave him any instructions at that meeting or

made any promises to him. Prible has not shown that there was any agency relationship or quid

pro quo between Foreman and the State. Accordingly, Prible has not shown that the State violated

Massiah in Siegler’s dealings with Foreman.

               4.      Prible’s Massiah Claim: Ineffective Assistance of Trial Counsel (Claim
                       7)

       Prible also argues that trial counsel provided ineffective assistance for not raising a

Massiah claim at trial. “An ineffective assistance claim has two components: A petitioner must

show that counsel’s performance was deficient, and that the deficiency prejudiced the defense.”

Wiggins v. Smith, 539 U.S. 510, 521 (2003). “To establish deficient performance, a petitioner

must demonstrate that counsel’s representation fell below an objective standard of

reasonableness.” Id. (quotation omitted). The Court must apply “a strong presumption that

counsel’s conduct falls within the wide range of reasonable professional assistance.” Strickland

v. Washington, 466 U.S. 668, 689 (1984). To establish prejudice, a petitioner must show that

“there is a reasonable probability that, but for counsel’s unprofessional errors, the result of the

proceeding would have been different.” Id. at 694. Martinez v. Ryan, 566 U.S. 1 (2012), and

Trevino v. Thaler, 569 U.S. 413 (2013), provide a limited exception to the procedural default rules

when state habeas counsel was ineffective for failing to assert a substantial ineffective assistance

of trial counsel claim in the petitioner’s first state habeas petition. In order to successfully assert

a Strickland claim for appellate counsel, Prible must also have a reasonable probability that he

would have prevailed on appeal but for his counsel’s deficient performance. See Smith v. Robbins,

528 U.S. 259, 285–86 (2000).
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       The root of this claim is that trial counsel knew that Beckcom tried to obtain a confession

and information from Prible while both were in detention, starting in late October or early

November 2001.25 At this time, Prible’s Sixth Amendment right to an attorney had already

attached, and Beckcom had already spoken with the lead prosecutor. Despite having information

about this timeline, Prible’s trial counsel failed to object to Beckcom’s testimony or to request a

Massiah hearing. Prible argues that, had his counsel objected, the trial court would have excluded

Beckcom’s testimony. Since Beckcom’s testimony was critical to the prosecution’s case, Prible

argues that it is “reasonably probable” that the outcome of the trial would have been different if

Beckcom’s testimony had been excluded. Strickland, 466 U.S. at 693–94. Similarly, state habeas

counsel had the same information but failed to make an ineffective-assistance claim in the first

state habeas application based on trial counsel’s failure to make a Massiah objection. Respondent

argues that Prible’s trial counsel was not ineffective for failing to object to Beckcom’s testimony

at trial because there was no evidence that Beckcom was an agent of the state: “Counsel is not

deficient for, nor can prejudice result from, the failure to raise a baseless objection.” (Doc. No.

191, at 98).

       While the record developed through Prible’s state and federal habeas proceedings has

enabled Prible to show successfully that Beckcom was an agent of the State, the information at

trial was not so clear. At trial, Beckcom seemed to suggest that Prible confessed to him before he

contacted Siegler. 26 RR 23–24; 36–37, 47. According to Beckcom, after Prible had made

inculpatory statements, Beckcom then found out that Siegler would need specifics. Id. at 37.



25
   Respondent claims that Prible failed to raise this claim in a manner consistent with AEDPA’s
limitations period. As with Prible’s Brady claims, the Court finds that this claim relates back to
the earlier petitions and, at any rate, the circumstances discussed supra also prevented Prible from
advancing this claim in a timely manner. See supra V.A.1.a.
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Beckcom testified about the November 24, 2001, conversation in which Prible allegedly confessed

as if Prible had voluntarily and without solicitation told Beckcom about the crime. Id. at 53–54.

In fact, Beckcom also testified that he counseled Prible not to talk about his case. Id. at 70–71.

       Much more information about the agency relationship emerged only during habeas

proceedings. While trial counsel knew that Beckcom reached out to Siegler well before he had

any substantive conversations with Prible, the full extent of Beckcom’s efforts to secure a

confession was not apparent to them at that time. While an attorney could have raised a Massiah

objection, it does not appear that Beckcom would have been so forthcoming at trial to describe his

efforts to communicate with Siegler and secure information from Prible. Further, even if Prible’s

state habeas counsel should have been aware of the potential Massiah issues, Prible has not shown

that the state habeas court would have granted relief absent the full record developed in federal

habeas proceedings. The Court finds that Prible is not entitled to relief on his ineffective assistance

of counsel claim.

               5.      Conclusion of Massiah Claims

       “[T]he prosecutor and police have an affirmative obligation not to act in a manner that

circumvents and thereby dilutes the protection afforded by the right to counsel.” Maine v. Moulton,

474 U.S. 159, 171 (1985). Prible’s initial complaint was that Siegler orchestrated a trap wherein

Prible would become entangled in a web of informers who, having gained his confidence, would

extract from him a confession. Prible alleged that Siegler not only seeded this conspiracy with

facts about the murder, but somehow caused the federal prison to place within his orbit the men




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who would take advantage of him. Prible argued that Siegler then maintained regular contact with,

and control of, the informers.

       The evidence has not completely verified all of Prible’s allegations. Still, the evidence

sufficiently proves a Massiah claim in relation to Beckcom. Siegler promised Beckcom time off

his sentence if he got information from Prible. Nothing suggests that Siegler instructed Beckcom

to be a passive listener. Cf. Kuhlmann v. Wilson, 477 U.S. 436, 460 (1986) (finding no Massiah

violation when the police instructed the inmate informant “only to listen to” the defendant). Siegler

must have known that, by telling Beckcom she needed specifics, Beckcom “would take affirmative

steps to secure incriminating information” and that “such propinquity [between the inmates] likely

would lead to that result.” United States v. Henry, 447 U.S. 264, 271 (1980). Siegler regularly

communicated with Beckcom after their initial meeting and, when he claimed to have created a

situation in which Prible confessed, again made promises to him. Beckcom acted as an agent of

the State in taking Prible’s uncounseled statements. The Court therefore grants relief on Claim 6.

       D.      Due Process (Claim 9)

       In Claim 9, Prible argues that the trial court improperly admitted evidence at trial. The

State only charged Prible with killing Herrera and Tirado. The trial court, however, allowed the

State to introduce guilt/innocence phase evidence that their three children also died in the fire. On

direct appeal, Prible argued that the evidence of the children’s deaths was inadmissible under

Texas Evidence Code § 404(b) and the due process clause. Under Texas law, evidence of other

crimes is generally inadmissible, but exceptions exist to prove motive, provide context, or

corroborate statements. The Court of Criminal Appeals provided two justifications for the

admission of those deaths: (1) “the State used the evidence of the children’s deaths to support the

testimony of a jailhouse informant, Michael Beckcom . . . detailing the manner in which the crimes

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were committed with information that Beckham [sic] could not have obtained except from [Prible]

himself” and (2) “the evidence was admissible as same-transaction contextual evidence . . . [which

was] so intertwined with the State’s proof of the charged crime that avoiding reference to it would

make the State’s case incomplete or difficult to understand.” Prible, 175 S.W.3d at 731, 732.

       Federal habeas courts do not “sit to review the mere admissibility of evidence under state

law.” Little v. Johnson, 162 F.3d 855, 862 (5th Cir. 1998); see also Derden v. McNeel, 978 F.2d

1453, 1458 (5th Cir. 1992) (“[E]rrors of state law, including evidentiary errors, are not cognizable

in habeas corpus . . . .”). The Court of Criminal Appeals found on direct appeal that evidence of

the children’s deaths was admissible under state law. The Supreme Court has “repeatedly held

that a state court’s interpretation of state law, including one announced on direct appeal of the

challenged conviction, binds a federal court sitting in habeas corpus.” Bradshaw v. Richey, 546

U.S. 74, 76 (2005). The Court’s sole inquiry, then, is whether the admission of this evidence

violated the Constitution, see Estelle v. McGuire, 502 U.S. 62, 68 (1991), which only provides

relief from an evidentiary ruling that is “so unduly prejudicial that it render[ed] the trial

fundamentally unfair,” Payne v. Tennessee, 501 U.S. 808, 825 (1991); see also Hafdahl v.

Johnson, 251 F.3d 528, 536 (5th Cir. 2001) (“If evidence of an extraneous offense is wrongly

admitted, however, habeas corpus relief is proper only if the error is of such magnitude that it

resulted in ‘fundamental unfairness.’”).

       Here, Texas law allowed the prosecution to introduce the extraneous evidence as an

exception to general evidentiary principles. Evidence of the deaths filled in gaps that would

otherwise exist in the evidentiary picture for jurors:

       First, evidence of the children’s deaths was part of the crime scene. That evidence
       was necessary to fully understand the situation as neighbors and firefighters found
       it. . . . Second, the children’s deaths were a direct consequence of [Prible’s] conduct
       of setting fire to Nilda. Thus, Steve and Nilda’s murders are so intertwined with
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       the deaths of their children that the State’s case might well be incomplete without
       some mention of the children’s presence in the home. Under these circumstances,
       testimony about the children’s deaths fills in gaps of the interwoven events and
       consequences of a defendant’s criminal conduct and thus helps the jury to
       understand the case in context.

Prible, 175 S.W.3d at 732. The state court reasonably found that any error was not a denial of

“fundamental fairness” under the Due Process Clause. Prible has not shown that the state court’s

rejection of this claim was contrary to, or an unreasonable application of, federal law. See 28

U.S.C. § 2254(d)(1).

       E.      Ineffective Assistance of Counsel: DNA Claim (Claim 12)

       In addition to his claims that the State violated Brady by suppressing DNA evidence

regarding how long semen could remain in the victim’s mouth and sponsoring false and misleading

testimony about the DNA evidence, Prible contends that trial counsel provided ineffective

representation by not effectively rebutting the testimony of the State’s expert. Trial counsel

secured expert assistance to refute Watson’s testimony and strongly disputed Watson’s

conclusions in closing argument. It is true that counsel could have crafted Siegler’s withheld note

into a theory that the State had shopped experts until finding one who would agree with their

timeline of the evidence. However, such information was not available to Prible’s trial counsel at

the time of trial. Prible has not shown that, given the information available to them, trial counsel

was unreasonable in how they approached the evidence or deficient in their efforts.

       F.      Fair Cross-Section (Claim 13)

       Prible claims that he was denied his right to a jury drawn from a fair cross-section of the

community because Harris County systematically excludes Hispanics from jury service. In order

to demonstrate a prima facie violation of the fair cross-section requirement for juries, a petitioner

must show: “(1) that the group alleged to be excluded is a ‘distinctive’ group in the community;

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(2) that the representation of this group in venires from which juries are selected is not fair and

reasonable in relation to the number of such persons in the community; and (3) that this

underrepresentation is due to systematic exclusion of the group in the jury-selection process.”

Duren v. Missouri, 439 U.S. 357, 364 (1979). Prible argues that Harris County’s process of

selecting jurors underrepresents Hispanics for various reasons, such as low jury pay and the use of

stale address lists.

        Prible raised this claim on state habeas review. The state habeas court found that Prible

defaulted judicial consideration of this claim by failing to lodge a trial objection to the jury panel.

Successive State Habeas Record at 465. The state habeas court relied on Texas’s contemporaneous

rule which requires “a party to preserve an issue for appellate review” by making “a timely

objection with specific grounds for the desired ruling.” Livingston v. Johnson, 107 F.3d 297, 311

(5th Cir. 1997). Texas’s contemporaneous objection rule is an adequate and independent state law

bar to federal review. See Hughes v. Johnson, 191 F.3d 607, 614 (5th Cir. 1999) (citing Amos v.

Scott, 61 F.3d 333, 345 (5th Cir. 1995)). Because Prible has not shown cause or prejudice for the

default of this claim, federal review is barred. See Roberts v. Thaler, 681 F.3d 597, 604–05 (5th

Cir. 2012).

        G.      Actual Innocence (Claim 14)

        Prible raises a stand-alone claim of actual innocence. “Actual innocence” is not an

independent ground for habeas corpus relief. See Herrera v. Collins, 506 U.S. 390, 400 (1993);

In re Raby, 925 F.3d 749, 755 (5th Cir. 2019); Foster v. Quarterman, 466 F.3d 359, 367 (5th Cir.




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2006). Insofar as Prible argues that his actual innocence entitles him to relief separate from any

other constitutional issue, he does not raise a cognizable habeas claim.

        H.     Final Claims (Claims 15 and 16)

        Prible’s fifteenth claim argues that the State sponsored false testimony in order to mislead

the jury, bolster the argument that he had raped Tirado, and detract from Prible’s alibi witnesses.

Prible argues that the State knowingly presented false testimony about the period between oral sex

and Tirado’s death, crime scene evidence regarding burn patterns and sexual assault, his

relationship with Tirado, Tirado’s personal opinion of Prible, and phone calls made from the

Herrera home. In his sixteenth claim, Prible faults trial counsel for not developing defensive

efforts to counteract the false testimony he outlines in Claim 15.

        Respondent observes that Prible raised these claims for the first time in his Fourth

Amended Petition.       On that basis, Respondent argues that the claims are procedurally

unreviewable. The Court agrees and finds that Prible has not shown that he can overcome the

procedural default. Claims 15 and 16 are thus procedurally unreviewable.

VI.     CERTIFICATE OF APPEALABILITY

        Respondent does not need permission to appeal from the grant of habeas relief. Under

AEDPA, however, a prisoner cannot seek appellate review from a lower court’s judgment without

receiving a Certificate of Appealability (“COA”). See 28 U.S.C. § 2253(c). Prible has not yet

requested that this Court grant him a COA on the denied claims; however, this Court “must issue

or deny a certificate of appealability when it enters a final order adverse to the applicant.” See Soliz

v. Davis, 750 F. App’x 282, 287–89 (5th Cir. 2018). “The COA statute establishes procedural

rules and requires a threshold inquiry into whether the circuit court may entertain an appeal.” Slack




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v. McDaniel, 529 U.S. 473, 482 (2000). A court may only issue a COA when “the applicant has

made a substantial showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2).

       The Fifth Circuit holds that the severity of an inmate’s punishment, even a sentence of

death, “does not, in and of itself, require the issuance of a COA.” Clark v. Johnson, 202 F.3d 760,

764 (5th Cir. 2000). The Fifth Circuit, however, anticipates that a court will resolve any questions

about a COA in the death-row inmate’s favor. See Hernandez v. Johnson, 213 F.3d 243, 248 (5th

Cir. 2000). The Supreme Court has explained the standard for evaluating the propriety of granting

a COA on claims rejected on their merits as follows: “Where a district court has rejected the

constitutional claims on the merits, the showing required to satisfy § 2253(c) is straightforward:

The petitioner must demonstrate that reasonable jurists would find the district court’s assessment

of the constitutional claims debatable or wrong.” Slack, 529 U.S. at 484; see also Miller-El v.

Cockrell, 537 U.S. 322, 336–38 (2003). On the other hand, a district court that has denied habeas

relief on procedural grounds should issue a COA “when the prisoner shows, at least, that jurists of

reason would find it debatable whether the petition states a valid claim of the denial of a

constitutional right and that jurists of reason would find it debatable whether the district court was

correct in its procedural ruling.” Slack, 529 U.S. at 484; see also Miller-El, 537 U.S. at 336–38.

Unless the prisoner meets the COA standard, “no appeal would be warranted.” Slack, 529 U.S. at

484.

       Having considered the merits of the denied claims, and in light of AEDPA’s standards and

controlling precedent, this Court declines to grant a COA.

VII.   CONCLUSION

       Prible is entitled to federal habeas relief on claims two, three, four, five, six, and ten. The

Court DENIES the State’s Motion for Summary Judgment and CONDITIONALLY GRANTS

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federal habeas relief as discussed above. It is therefore ORDERED that a writ of habeas corpus

shall issue unless, within 180 days, the State of Texas either begins new proceedings against Prible

or releases him from custody. The 180-day time period shall not start until the conclusion of any

appeal from this Memorandum and Order, either by the exhaustion of appellate remedies or the

expiration of the time period in which to file such appellate proceedings. The 180-day period may

also be extended on further order of the Court. The Court DENIES a certificate of appealability

for all claims.

        The Clerk will deliver a copy of this Memorandum and Order to the parties.

        SIGNED at Houston, Texas, on this 20th day of May, 2020.




                                                     HON. KEITH P. ELLISON

                                                     UNITED STATES DISTRICT JUDGE




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